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             EXHIBIT B
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DOD MANUAL 5200.02
PROCEDURES FOR THE DOD PERSONNEL SECURITY PROGRAM (PSP), October 29,
2020
§9.4. SUSPENSION OF NATIONAL SECURITY ELIGIBILITY OR ACCESS.
a.     Except for cases involving NISP contractor personnel, which are administered according
       to the suspension standards set by DoDD 5220.6 and Volume 2 of DoDM 5220.22, the
       DoD CAF and the DoD IC central adjudication facilities are solely responsible for
       suspending national security eligibility.
       (1) The adjudication facility will evaluate any credible derogatory information it receives
       within 15 calendar days and make an initial determination indicating whether or not a
       cleared individual’s continued eligibility is clearly consistent with the interests of the
       national security.
       (2) Adjudication facility officials should confirm with the reporting organization to
       ensure derogatory information has been reported to CI or law enforcement authorities as
       appropriate.
       […]
c.     DoD Component heads, commanders, or their authorized representatives must report
       access suspensions to the appropriate adjudication facility via the JPAS incident report
       link within the same calendar day as the suspension. This action alerts registered JPAS
       users of the change in the person’s status. The MDCO or FBI may direct this reporting
       not be done.
       […]
§ 10.2. MINIMUM DUE PROCESS REQUIREMENTS APPLICABLE TO ALL. No
unfavorable national security eligibility determination will be made without first:
a.     Providing the individual with a comprehensive and detailed written explanation of the
       basis for the unfavorable determination as the national security interests of the United
       States and other applicable law permit. The LOD or LOR must include each security
       concern, the applicable adjudicative guideline(s) related to each concern, and provide an
       explanation of the kinds and types of information they could provide to support their
       appeal.
b.     Informing the individual of their right to:
       (1) Be represented by counsel or other representative at their own expense.
       (2) Request the documents, records, and reports upon which the unfavorable national
       security determination was made. Be granted an extension to the set timeline by the
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       Component      PSAB if requested documents, records, and reports are not provided
       promptly.
c.     Providing a reasonable opportunity to reply in writing and to request review of the
       unfavorable determination.
       […]
h.     When a DoD Component head or principal deputy personally certifies that a procedure in
       this section cannot be made available in a particular case without damaging the national
       security interests of the United States by revealing classified information, the particular
       procedure will not be made available. This certification is conclusive.
       […]


Available at:
https://www.esd.whs.mil/Portals/54/Documents/DD/issuances/dodm/520002m.PDF?ver=YMf-
3XVWDdl4IodzbSsLnA%3d%3d



Executive Order 12968
Part 5 – REVIEW OF ACCESS DETERMINATIONS

Sec 5.2. Review Proceedings for Denials or Revocations of Eligibility for
Access.
(a)     Applicants and employees who are determined to not meet the standards for access to
        classified information established in section 3.1 of this order shall be:
        (1) provided as comprehensive and detailed a written explanation of the basis for that
        conclusion as the national security interests of the United States and other applicable law
        permit;

       (2) provided within 30 days, upon request and to the extent the documents would be
       provided if requested under the Freedom of Information Act (5 U.S.C. 552) or the
       Privacy Act (3 U.S.C. 552a), as applicable, any documents, records, and reports upon
       which a denial or revocation is based;

       (3) informed of their right to be represented by counsel or other representative at their
       own expense; to request any documents, records, and reports as described in section
       5.2(a)(2) upon which a denial or revocation is based; and to request the entire
       investigative file, as permitted by the national security and other applicable law, which, if
       requested, shall be promptly provided prior to the time set for a written reply;


Available at:
https://www.dni.gov/files/NCSC/documents/Regulations/EO_12968.pdf
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DOD INSTRUCTION 5505.03

INITIATION OF INVESTIGATIONS BY DEFENSE CRIMINAL INVESTIGATIVE
ORGANIZATIONS, August 2, 2023
      […]
SECTION 2: RESPONSIBILITIES

2.1. IG DOD.
The IG DoD monitors and evaluates compliance of DoD Components with this issuance.
       […]

SECTION 3: PROCEDURES
3.7. INVESTIGATION REPORTS.
a.     In accordance with Section 1732(b) of Public Law 113-66, at the conclusion of the
       investigation, the DCIOs will only report and document final investigative facts. To avoid
       the appearance of investigative bias, DCIOs must not convey or document investigative
       conclusions, whether founded or unfounded, in investigation reports.
b.     DCIOs must document legal coordination from supporting legal counsel or staff judge
       advocates about an investigation in the final investigation report.

Available at:
https://www.esd.whs.mil/Portals/54/Documents/DD/issuances/dodi/550503p.pdf
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  EXHIBIT C
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                                                   INSPECTOR GENERAL
                                                   DEPARTMENT OF DEFENSE
                                             DEFENSE CRIMINAL INVESTIGATIVE SERVICE


              2019002173-80SI-B0/F                                                           October 26, 2022

               BLUE SKY INNOVATORS, INCORPORATED, Fairfax, VA
              (b)(7)(A), (b)(6), (b)(7)(C)


              GLINES, KRISTINA ARLENE
              (b)(7)(A), (b)(6), (b)(7)(C)
              TKACZ, TIMOTHY JAMES




              DISTRIBUTION:
              (b)(7)(A)




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 CUI Category: LEI/INV/PRVCY                 Inspector General, Defense Criminal Investigative Service
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               2019002173-80SI-B0/F                                                                                                        2

               Synopsis:
               From at least 2015 to present, Kristina A. Glines, GS-15, Director of Security, Department of the
               Navy Special Programs Office/Department of the Navy Special Access Program Central Office,
               Pentagon, Washington, D.C., knowingly and willfully, violated her basic obligation of public
               service, which holds that public service is a public trust. Glines placed private gain ahead of her
               loyalty to the Constitution, ethics laws, and ethical principles. Glines held financial interests that
               conflicted with the conscientious performance of her duties, used nonpublic Government
               information to further a private interest, used public office for private gain, failed to act
               impartially, and gave preferential treatment to a private entity. These improprieties pertain to
               Glines imputed interest in Blue Sky Innovators, Incorporated, a company her husband owns and
               operates.

               Statutes:
               The following violations of the United States Code (U.S.C.) and Code of Federal Regulations
               (C.F.R.) apply to this investigation:

                  18 U.S.C. § 208 - Acts Affecting a Personal Financial Interest;
                  5 C.F.R. § 2635.402 - Disqualifying Financial Interest;
                  5 C.F.R. § 2635.501 - Impartiality in Performing Official Duties;
                  5 C.F.R. § 2635.502 - Personal and Business Relationships;
                  5 C.F.R. § 2635.701 - Misuse of Position;
                  5 C.F.R. § 2635.702 - Use of Public Office for Private Gain;
                  5 C.F.R, § 2635.703 - Use of Nonpublic Information.

               Background:
               This investigation was opened on May 30, 2019, via a referral from (b)(7)(A), (b)(6), (7)(C)
               (b)(7)(A), (b)(6), (7)(C) Department of Defense (DoD) Special Access Program Central Office
               (SAPCO), Pentagon, Washington, D.C., regarding questionable Special Access Program (SAP)
               accesses for Blue Sky Innovators, Incorporated. ( Blue Sky Innovators) employees and
               questionable business practices.           questioned the high number of SAP accesses being
                                                   (b)(7)(A), (b)(6),



                processed, with hundreds of programs each being nominated.         also took umbrage with the
                                                                                                   (b)(7)(A),


               spouse of Blue Sky Innovators’ President and Chief Executive Officer, who used her official
               U.S. Government position to benefit her and her husband’s financial position, potentially
               amounting to an organizational conflicts of interest.          expressed concern with the
                                                                              (b)(7)(A), (b)(6),




               following personnel:

                  Timothy Tkacz, President and Chief Executive Officer, Blue Sky Innovators;
                  (b)(7)(A), (b)(6), (b)(7)(C) (b)(7)(A), (b)(6), (b)(7)(C)                   Blue Sky Innovators
                                                                                                                  (b)(7)(A), (b)(6),
                                                                                                                                       ,
                                                                                             &
                  (b)(7)(A), (b)(6), (b)(7)(C) , Assistant Secretary of the Air Force for Acquisitions, Special
                  Programs (SAF/AQL),(b)(7)(A), (b)(6), (7)(C)
                  (b)(7)(A), (b)(6), (b)(7)(C), (b)(7)(A), (b)(6), (b)(7)(C)                   Blue Sky Innovators;
                  (b)(7)(A), (b)(6), (b)(7)(C)
                                               , Employee, Blue Sky Innovators (b)(7)(A), (b)(6), (b)(7)(C)


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                  Kristina Glines, Directory of Security, Department of the Navy Special Programs
                  Office/Department of the Navy SAPCO (N9SP).

               A SAP is a program activity that imposes additional controls governing access to classified
               information involved with such programs beyond those required by normal management and
               safeguarding practices. These additional controls may include, but are not limited to, access
               approval, adjudication or investigative requirements, special designation of officials authorized
               to determine a need-to-know, or special lists of persons determined to have a need-to-know.

               Based on the DoD SAPCO referral, the Defense Criminal Investigative Service (DCIS),
               Sensitive Investigations Unit, Alexandria, Virginia, opened a criminal investigation to determine
               the veracity of the allegations. (b)(7)(A)




               Narrative:

               BLUE SKY INNOVATORS, INCORPORATED BACKGROUND
               1. Blue Sky Innovators is a small business specializing in professional services supporting U.S.
               Government customers within the DoD and the Intelligence Community (IC). Blue Sky
               Innovators specializes in the following professional services:

                  (b)(7)(A)




               2. Tkacz started Blue Sky Innovators in 2013 as an individually owned limited liability company
               supporting DoD customers. In 2016, Tkacz converted his company into a subchapter S-


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               Corporation and added three new partners. The following three corporate officers joined Blue
               Sky Innovators:
                   (b)(7)(A), (b)(6), (7)(C)




               3. Blue Sky Innovators divided ownership amongst the four owners, with the majority ownership
               held by Tkacz. Blue Sky Innovators ownership percentages are:

                   Timothy Tkacz, President and Chief Executive Officer, 28.75% ownership;
                  (b)(7)(A), (b)(6), (7)(C)




               4. Blue Sky Innovators is a registered corporation in the Commonwealth of Virginia. Blue Sky
               Innovators is a corporate entity (Not Tax Exempt), business, subchapter S-Corporation, and for-
               profit organization. Tkacz, (b)(7)(A), (b)(6), (7)(C)
           (b)(7)(A), (b)(6), (7)(C)



               5. Blue Sky Innovators’ registered business address was (b)(7)(A), (b)(6), (7)(C)
               (b)(7)(A), (b)(6), (7)(C)                             (Attachment 1). On March 26, 2022,
               Blue Sky Innovators changed their corporate address from (b)(7)(A), (b)(6), (7)(C)
               (b)(7)(A), (b)(6), (7)(C)                             (Attachment 2). LiquidSpace owns and
               operates this new business address. LiquidSpace leases workspace, offices, conference rooms,
               etc., for use by companies such as Blue Sky Innovators.

               6. Blue Sky Innovators is registered in the General Services Administration (GSA) Systems for
               Award Management (SAM) database. Blue Sky Innovators has been registered in GSA SAM
               since July 9, 2013. Blue Sky Innovators is an active U.S. Government contractor eligible for all
               Federal agency contract awards, is in good standing, and without any exclusions – e.g. debarred,
               suspended, proposed for debarment, or declared ineligible for the award of contracts by any
               Federal agency. Blue Sky Innovators operates via Commercial and Government Entity
               (CAGE) code 6XNZ7 (Attachment 3).

               7. Blue Sky Innovators is a cleared DoD contractor. In 2016, the Defense Counterintelligence
               & Security Agency (DCSA) issued Blue Sky Innovators a TOP SECRET Facility Clearance
               (FCL) (Attachment 4). Blue Sky Innovators maintains a valid FCL, which allows them to
               access, possess, and work with classified information up to and including TOP SECRET. Blue
               Sky Innovators is an access elsewhere facility with no safeguarding or automated information
               systems at the FCL’s registered address, (b)(7)(A), (b)(6), (7)(C)




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               2019002173-80SI-B0/F                                                                                  5
               8. All corporate officers maintain TOP SECRET personnel security clearances with sensitive
               compartment information and SAP eligibility. Blue Sky Innovators has had several Facility
               Security Officers (FSO) throughout their existence. (b)(7)(A), (b)(6), (7)(C)
           (b)(7)(A), (b)(6), (7)(C)



               9. DCSA confirmed Blue Sky Innovators performed classified work on DoD classified contracts

                BLUE SKY INNOVATORS, INCORPORATED FEDERAL AGENCY CONTRACTS
               10. According to publicly available information, Blue Sky Innovators has a limited Federal
               requiring access to classified material, to include SAP access (Attachments 5, 6, and 7). (b)(7)(A)
           (b) (7)(A)




               agency contractor presence and a complete absence of contracts with the DoD. Dunn &
               Bradstreet Federal Information reports indicated a complete absence of federal agency contracts
               (Attachment 8). The Federal Procurement Data System (FPDS) reported Blue Sky Innovators
               had only one federal agency contract award (Attachment 9). This federal agency contract is the
               General Services Administration (GSA) Professional Services Schedule (PSS) Contract #:
               47QRAA20D001N. The PSS is a GSA Indefinite Delivery Indefinite Quantity, Multiple Award
               Schedule, Firm Fixed Price contract wherein Blue Sky Innovators is a contract holder
               (Attachment 10).

               11. The DoD Office of General Counsel, Standards of Conduct Office (SOCO), prepares and
               releases an annual report entitled, “DoD Vendors with Awards of $25,000.00 and over FPDS
               Data” identifying prime contractors who have received DoD contracts awards greater than
               $25,000. Blue Sky Innovators was not listed in the FY2016, FY2017, FY2018, FY2019,
               FY2020, and FY2021 annual “DoD Vendors with Contracts of $25,000.00 and over” reports
               (Attachment 11).

               12. (b) (7)(A)




                   (b) (7)(A)


                   (b) (7)(A)




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               13. (b)(7)(A)




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               (b)(7)(A)




                                                                                                             e




               14. (b)(7)(A)




               BLUE SKY INNOVATORS SPECIAL ACCESS PROGRAM ACCESSES

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               15. Blue Sky Innovators maintains a significant presence in the DoD SAP community. DoD
               SAPCO, JADE, and Joint Access Database System (JADS) queries confirmed extensive DoD
               SAP read-ins for Blue Sky Innovator corporate officers and employees. Specific SAP details
               such as program name, type, and owner are not reportable in this document. DoD SAPCO
               maintains a full list of Blue Sky Innovators employee SAP accesses.

                BLUE SKY INNOVATORS PERFORMANCE ON U.S. NAVY CONTRACTS
               16. Tkacz leads Blue Sky Innovators performance on U.S. Navy classified contracts. Tkacz, as
               the President and CEO of Blue Sky Innovators, entered into two subcontract agreements with
               ECS Federal, Limited Liability Company (LLC), codifying their contractual relationship. Tkacz
               entered into the following two subcontract agreements with ECS Federal, LLC, on the following
               U.S. Navy contracts:

                   Contract Number: N3237B-13-C-2010
                   Prime Contractor: ECS Federal, LLC
                   Customer: U.S. Navy, Office of Naval Research (PMR-51)
                   Contract Description: CLASSIFIED
                   Subcontract Agreement Execution Date: May 1, 2017 (Attachment 14)

                   Contract Number: N3237B-15-D-6816
                   Prime Contractor: ECS Federal, LLC
                   Customer: U.S. Navy, Office of Naval Research (PMR-51)
                   Contract Description: CLASSIFIED
                   Subcontract Agreement Execution Date: March 16, 2020 (Attachment 15)

               17. These classified contracts have DoN SAP equities that fall under the oversight of Tkacz’s
               spouse – Kristina A. Glines, Director of Security, Department of the Navy Special Programs
               Office/Department of the Navy SAPCO (N9SP), Pentagon, Washington, D.C.
                                                                                       (b)(7)(A), (b)(6), (7)(C)
                TIMOTHY TKACZ
               18. Timothy J. Tkacz is the President and CEO of Blue Sky
                   Innovators.
               (b)(7)(A), (b)(6), (7)(C)



               19. (b)(7)(A), (b)(6), (7)(C)

               20. (b)(7)(A), (b)(6), (7)(C)




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               21. (b)(7)(A), (b)(6), (7)(C)
               (b)(7)(A), (b)(6), (7)(C)


               22. As a small business, Blue Sky Innovators corporate officers perform multiple roles from
               running the company to working directly on a Federal agency contracts. As the President and
               CEO of Blue Sky Innovators, Tkacz leads the company, oversees company operations,
               establishes business strategies, and makes important corporate decisions that impact the
               company’s brand and financial health. Tkacz bills this time, while performing Blue Sky
               Innovators President and CEO duties, as an indirect cost – cost not related to a specific service
               provided directly to a federal agency contract. Tkacz bills his indirect labor as both overhead
               and General and Administrative (G&A) labor. Overhead costs support the efforts of the direct
               labor workforce not performing work on a specific contract. G&A are the residual cost
               necessary to run a business such as labor for strategic planning, business development efforts,
               and to manage and perform administrative functions.

               23. Tkacz also works on Federal agency contracts where he provides professional services, in
               most cases, Systems Engineering and Technical Assistance (SETA) support to various Federal
               agency customers. In this capacity, Tkacz bills his time as direct labor – labor that is provided
               directly to a customer. The cost of direct labor is considered the cost of regular hours, shift
               differentials, and overtime hours worked by an employee.

               24. As a representative example of Tkacz’s direct labor billing on Federal agency contracts,
               Tkacz worked and billed his time at DARPA as a Blue Sky Innovators SETA. Tkacz’s work
               at DARPA is very extensive. While supporting DARPA, Tkacz worked on a multitude of
               programs, to include, but not limited to, Rapid Attack Detection, Isolation and Characterization
               Systems, Cyber Fault-tolerant Attack Recovery, Communications in Contested Environments,
               ADAPTable Sensor System, Integrated Sensor is Structure, Flow based Information Theory
               Tracking, Large Area Coverage Search-Prior, and several classified cyber efforts.

               KRISTINA GLINES
               25. Kristina A. Glines is a Department of the Navy, Executive Branch, civilian federal employee
               of the U.S. Government and his been since she began federal career in February 2005. Glines
               started her federal civil service career with the Department of the Navy, Navy Engineering
               Logistics Office (NELO) as a Security Specialist. From 2005 to present, Glines maintained
               continuous employment with the Department of the Navy as a civilian federal employee.

               26. During her career with the Department of the Navy, Glines worked at various commands, to
               include, but not limited to, NELO, Navy Systems Management Activity, and the Department of
               the Navy Special Programs Office/Department of the Navy SAPCO. Glines held a variety of
               positions to include Security Specialist, Supervisory Security Specialist, Program Security
               Officer, Program Security Manager, and the Director of Security. Glines currently holds the pay
               grade of GS-15.




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               27. According to SECNAV Instruction 5460.4 – Mission, Functions, and Tasks of the
               Department of the Navy Special Access Program Central Office, DoN SAPCO is responsible for
               the execution, management, oversight, administration, security, information systems and
               networks, information assurance, and records management for SAPs under the responsibility of
               the DoN. In her position as the Director of Security at DoN SAPCO, Glines is responsible for
               the protection of DoN SAPs and implementation of enhanced security requirements. Glines
               responsibilities include, but are not limited to, the following:

                  Develop and promulgate policies and procedures for the security of DoN SAPs, to include
                  insider threat policy for DoN SAPs;
                  Exercise Access Approval Authority for all DoN SAPs for which the Secretary of the Navy
                  is responsible and as delegated by agreement with non-DON entities;
                  Maintain a master list of all access authorizations for DoN SAPs and of the individuals
                  granted access;
                  Establish, manage, and execute approval authority for DoN SAP access baselines;
                  Evaluating continued access to DoN SAPs access for personnel who have committed security
                  violations and/or have other derogatory information findings;
                  Ensuring that security standards and policies are maintained and followed.

                TIMOTHY TKACZ & KRISTINA GLINES MARRIAGE & FINANCIAL INTEREST
               28. A review of Glines’ social media posts, National Background Investigation Bureau
               investigative file, and Questionnaire for National Security Positions, revealed Glines and Tkacz
               are married and began living together in 2011.

               29. On August 2, 2013, Glines and Tkacz were legally married in Charlevoix County, Michigan
               wherein they became each other’s spouse. The Charlevoix County Clerk’s office issued a
               marriage certificate codifying their legal marriage. Glines’ new married name was recorded as
               “Kristina Glines Tkacz” (Attachment 16).

               30. Although Glines listed her new name on the marriage certificate as “Kristina Glines Tkacz,”
               she does not use this name during the course of her official Government duties. Glines does not
               use this name on her Government e-mail accounts, on Government documents, Government
               issued identification, nor does she sign official documents using this name. Instead, Glines uses
               her maiden name – “Kristina Glines.” Glines uses her maiden name on the following:

                  DoD Common Access Card;
                  U.S. Government E-mail Signature Block;
                  U.S. Government Passport;
                  Social Security Number;
                  Virginia Driver’s License;
                  Virginia Vehicle Registration;
                  LinkedIn Social Media Platform;
                  E-mail Addresses

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               2019002173-80SI-B0/F                                                                                 11
                      o kristina.glines@navy.mil (NIPRNet)
                      o kristina.glines@navy.smil.mil (SIPRNet)
                      o glinesk@nmic.ic.gov (JWICS)

               31. In June 2015, Glines reported on her “Electronic Questionnaire for Investigations
               Processing” form that she married Tkacz on August 2, 2013 and had not legally changed her
               name; however, she “informally” goes by her husband’s last name Kristina Tkacz. During
               Glines’ enhanced subject interview for her security clearance, on January 5, 2016, Glines
               addressed the use of her maiden name vice the use of her married name. Glines reported she
               listed her name as Kristina Tkacz on her marriage certificate and on Facebook; however,
               reported “She does not sign any official documents with the name [Kristina Tkacz] or use it for
               any other reason. When she listed [Kristina Glines Tkacz] on her marriage certificate her
               intention was to switch everything over to that name but found the process to be difficult and
               time consuming and decided to continue using the name Kristina Glines.”

               32. Without personal knowledge that Glines is married to Tkacz, or Glines voluntarily disclosing
               her marriage to Tkacz, a reasonable person would not readily know Glines is married and
               maintains a “covered relationship” to Tkacz. Glines’ use of her maiden name effectively
               obfuscates any perceived or actual personal and/or financial conflicts of interest concerns a
               reasonable person might have regarding Glines, Tkacz, and Blue Sky Innovators.

               33. Glines has a direct and imputed financial interest with her husband and his company, Blue
               Sky Innovators. Glines and Tkacz live together and share a mortgage on their home (Attachment
               17). Glines told DCIS that she shares financial interest with her husband as joint owners and
               signatories on loans, bank products, and investments, to include but not limited to, their home
               mortgage, savings account, checking account, stocks, mutual funds, credit cards, etc. Glines
               reported she and Tkacz file federal and state income tax as married filing jointly.

               34. Glines maintains a “covered relationship” with her husband Tkacz. This “covered
               relationship” exist because they are members of the same household, are legally married, have a
               close personal relationship, and Tkacz serves as an officer of Blue Sky Innovators.

               STANDARDS OF ETHICAL CONDUCT FOR EMPLOYEES OF THE EXECUTIVE
               BRANCH
               35. Glines, as an employee of the executive branch of the U.S. Government, has an obligation to
               abide by 5 C.F.R. § 2635 - Standards of Ethical Conduct for Employees of the Executive Branch.
               The basic obligation of public service is that it is a public trust. Each employee has a
               responsibility to the U.S. Government and its citizens to place loyalty to the Constitution, laws,
               and ethical principles above private gain. To ensure that every citizen can have complete
               confidence in the integrity of the Federal Government each employee shall respect and adhere to
               the principles of ethical conduct. The general principles apply to every employee. These general
               principals include, but are not limited to, the following:

                  Public service is a public trust, requiring employees to place loyalty to the Constitution, the
                  laws, and ethical principles above private gain;
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                  Employees shall not hold financial interests that conflict with the conscientious performance
                  of duty;
                  Employees shall not engage in financial transactions using nonpublic Government
                  information or allow the improper use of such information to further any private interest;
                  Employees shall not use public office for private gain;
                  Employees shall act impartially and not give preferential treatment to any private
                  organization or individual;
                  Employees shall endeavor to avoid any actions creating the appearance that they are violating
                  the law or the ethical standards set forth in this part. Whether particular circumstances create
                  an appearance that the law or these standards have been violated shall be determined from
                  the perspective of a reasonable person with knowledge of the relevant facts.

               36. As a DoD and DoN employee, Glines is subject to additional rules, regulations, and guidance
               regarding ethical conduct. They include the following:

                  5 C.F.R. § 3601 - Supplemental Standards of Ethical Conduct for Employees of the
                  Department of Defense;
                  DoD Directive 5500.07-R - Joint Ethics Regulation;
                  The Department of the Navy Core Values Charter;
                  Navy Code of Ethics.

               37. Additionally, DoD personnel have been reminded about their obligations to perform their
               jobs ethically. The most recent guidance includes the following:

                  On September 18, 2019, the Honorable Mark Esper, Secretary of Defense, issued a
                  memorandum to all DoD personnel entitled “Reaffirming Our Values and Ethical Conduct.”
                  In his message, Esper reiterated that DoD personnel must practice and exercise ethical
                  decision making and it must become a daily task and habit. Esper directed all DoD personnel
                  to complete annual ethics training.

                  On February 5, 2020, Secretary of Defense Esper issued a memorandum to all DoD
                  personnel entitled “Ethical Conduct and Political Activities.” This was follow-on guidance
                  from the September 18, 2019 memorandum wherein he reemphasized ethical conduct,
                  political activities, and reaffirmed annual ethics training requirements.

                  On March 29, 2022, The Honorable Carlos Del Toro, Secretary of the Navy, issued an
                  “Annual Ethics Message” wherein he reminded DoN personnel about the concept of integrity
                  and that it expanded to all employees of the DoN – officers, enlisted, and civilian personnel.

               38. Glines, as an employee of the DoD/DoN, has been exposed to, and consistently reminded of,
               her moral and ethical obligations she must follow as a DoD/DoN senior civilian federal
               employee.


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               ETHICS TRAINING
               39. Glines reported to DCIS she has received ethics training throughout her federal career.
               Electronic training records obtained from the DoN Total Workforce Management Services
               (TWMS) system confirmed Glines took ethics training. Only Glines’ 2019 and 2020 ethics
               training record, could be located (Attachment 18). Glines took the following ethics training
               courses:

                  November 19, 2020 - DON Initial and Annual Ethics Training Course V.3;
                  November 18, 2020 - DON Initial and Annual Ethics Training Course V.3;
                  February 18, 2020 - DON Annual Ethics Training V2;
                  September 16, 2019 - Annual Ethics Training.

               40. A review of the ethics training modules revealed the ethics training addressed a multitude of
               topics and required an end of course examination (Attachment 19). The training included, but
               was not limited, to the following topics:

                  18 U.S.C. § 208 – Acts Affecting a Personal Financial Interest;
                  Principals of Ethical Conduct;
                  Financial Conflicts of Interest;
                  Impartiality;
                  Misuse of Position;
                  Ethics Advice.

               41. The training further instructs the student to consult their ethics counselor to determine
               whether their participation would be considered personal and substantial, whether the particular
               matter would have a direct and predictable effect on their financial interest, and whether they
               may avail themselves on any exemptions - “Seek Early Advice: Consult Your Attorney.”

               42. The training stated as a general rule, “Do not work on matters in which YOU have a financial
               interest. In following this rule, employees should keep in mind that the financial interests of
               others – including a spouse, minor child, and certain entities - are imputed to them.”

               43. Furthermore, the training reiterates financial interest are imputed to the Government
               employee via a spouse, minor child, general partner; and an organization in which the employee
               serves as an officer, director, general partner, or employee.

               44. Remedial steps to resolve conflict of interest are addressed wherein an employee can take
               steps to avoid taking action on a matter in which they have a financial interest. This includes
               divesting themselves of the conflicting financial interest, the employee being granted a waiver,,
               recusal/disqualification, reassignment, and changes of duties.

               45. The training addresses impartiality in conducting official business. Appearance of a loss of
               impartiality directs the employee not to participate in a particular matter involving specific
               parties without written supervisory approval if the matter is likely to affect the financial interest

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               of a member of the employee’s household, and a person with whom the employee has a “covered
               relationship” is involved in the matter. The training defines an employee has a “covered
               relationship” with the following:

                  A member of the employee’s household;
                  A relative with whom the employee has a close personal relationship;
                  A person for whom the employee’s spouse, parent, or dependent child is an employee;
                  A person with whom the employee has a business or financial relationship;
                  An organization in which the employee is an active participant.

               46. Criminal statute 18 U.S.C. § 208 - Acts Affecting a Personal Financial Interest, prohibits
               executive branch employees from working on U.S. Government matters that will affect their own
               personal financial interest, or the financial interest of other people, to include their spouse, minor
               child, or general partner. An executive branch employee should not act on a Government matter
               if a reasonable person who knew the circumstances of the situation could legitimately question
               their impartiality.

               47. Impartiality could be questioned if the Government matter an executive branch employee
               worked on is likely to affect the financial interest of a member of their household, their spouse,
               minor child, or partner. Impartiality could also be questioned if a Government employee worked
               on a Government matter with someone with whom they had a “covered relationship” wherein
               they are a party or represent a party to a Government matter.

               KRISTINA GLINES – OGE FORM 450 - CONFIDENTIAL FINANCIAL DISCLOSURE
               REPORTS
               48. Glines is an OGE Form 450 – Confidential Financial Disclosure Report filer. Glines
               completed and submitted OGE Form 450s to the NELO OGC Ethics Counselor in 2017, 2019,
               2020, 2021, and 2022 (Attachment 20). In each such filing, Glines properly reported Blue Sky
               Innovators as a source of non-investment income via her spouse’s salary. Glines properly
               reported Blue Sky Innovators as an asset via her spouse’s stock ownership in the company.

               49. Reviewers reviewed the annual DoD SOCO “DoD Vendors with Awards of $25,000.00 and
               over FPDS Data,” but reported the Blue Sky listed in the report was a different Blue Sky than
               Blue Sky Innovators. Since “ Blue Sky Innovators, Incorporated” was not listed in the DoD
               SOCO report, Ethics Counselors had no reason to believe Glines had a conflicting personal
               financial interest. Hence, Ethics Counselors did not issue a “Conflict Letter” to Glines during
               the period 2017 to 2021.

               50. In 2022, (b)(7)(A), (b)(6), (7)(C)            , NELO, OGC, issued a “Conflict Letter” to
               Glines warning her that her OGE Form 450 revealed she, or her spouse, maintained a financial
               interest in Blue Sky Innovators, and that 18 U.S.C. § 208 prohibited her from taking any
               official action regarding an entity in which she holds a financial interest (Attachment 21).



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               2019002173-80SI-B0/F                                                                                                                                                                        15
               51. A review of the “FY 2021 DoD Vendors with Contracts of $25,000 and over (1/13/2022)”
               report revealed “ Blue Sky Innovators, Incorporated” was not listed in the report; however, there
               were similar companies with similarly sounding names, such as “Blue Sky Innovative Solutions,
               Incorporated” and “Blue Sky Industries, Incorporated.” Neither is affiliated with Blue Sky
               Innovators.. The report listed prime contractors, not subcontractors, to the DoD.                                                                            (b)(7)(A), (b)(6), (b)(7)(C)

               issuance of the “Conflict Letter” appears to have been made erroneously based on the DoD
               SOCO report; however, the “Conflict Letter” is appropriate because of the potential personal
               conflict of interest posed by Blue Sky Innovators’ performance on DoD contracts and Glines’
               position as an executive branch employee (Attachment 22).

               KRISTINA GLINES ETHICS GUIDANCE REQUEST
               52. Glines’ ethics training instructed her to consult her supervisor, ethics counselor, and/or
               recuse herself if she had any perceived or actual conflicts of interest. Glines demonstrated her
               understanding and obligation to do so on at least four occasions:

                  Glines recused herself from the source selection team on the Contractor Support Services
                  (b)(7)(A) selection acquisition. She did so because she believed her husband’s company could
                  potentially support (b)(7)(A)                                       . Glines reported this recusal occurred
                  several years ago (Attachment 23). DCIS requested all ethics documents from DoN OGC for
                  such recusals; however, there were no records produced for this recusal.
                  In July/August 2022, Glines sought guidance from(b)(7)(A), (b)(6), (7)(C)                           , N9SP and
                  (b)(7)(A), (b)(6), (b)(7)(C) DoN, OGC. Glines had been selected as a member of the technical
                  evaluations board for the N9SP Contractor Support Services contract re-compete. One of the
                  bidders on the re-compete was American Systems Corporation. Glines reported her
                  husband’s company, Blue Sky Innovators, had a subcontract with American Systems to
                  provide SETA support to the Office of the Undersecretary of Defense for Research and
                  Engineering. Glines requested a legal determination to determine if she should be involved
                  in the acquisition.               believed Glines had an actual conflict of interest and recommend
                                                                     (b)(7)(A), (b)(6), (b)(



                  Glines have no direct involvement in the contractor evaluation and selection process; Glines
                  complied with this ethics guidance (Attachment 24).
                  In July 2022, Glines sought guidance from                           regarding her requirement to list all prime
                                                                                                                         (b)(7)(A), (b)(6), (b)(



                  contracts wherein Blue Sky Innovators performs as a subcontractor on her OGE Form 450.
                              notified Glines that she did not need to list all the “primes/subs” of Blue Sky
                  (b)(7)(A), (b)(6), (b)(




                  Innovators on her OGE Form 450.                              reported OGC would deal with these situations on
                                                                                               (b)(7)(A), (b)(6), (b)(




                  a case-by-case basis (Attachment 24).
                  Sometime in July/August 2022, Glines notified her supervisor, (b)(7)(A), (b)(6), (7)(C) , N9SP,
                  that her husband, was under investigation, but did not know why or for what. Glines notified
                             about the investigation because Glines was not sure if and/or how it would or might
                  (b)(7)(A), (b)(6), (b)


                  affect her role as the Director of Security at N9SP. Glines told                        she had done nothing                     (b)(7)(A), (b)(6), (b)


                  wrong and the investigation was all about her husband (Attachment 25). Although Glines
                  notified               of an investigation into her husband circa July/August 2022, Tkacz was
                                            (b)(7)(A), (b)(6), (b)


                  likely aware of the DCIS investigation as early as October 20, 2021. On this date, DCIS and
                  (b)(7)(A)        interviewed (b)(7)(A), (b)(6), (b)(7)(C) a Blue Sky Innovators employee, about the issues
                  raised by DoD SAPCO. Tkacz was fully aware of the DCIS investigation upon receipt of

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                   two DoD Office of Inspector General subpoenas served on December 3, 2021 and April 4,
                   2022.

               53. Glines confirmed these were the only times she sought ever sought ethics guidance and
               notified her supervisor of any perceived or actual conflicts of interest.

               KRISTINA GLINES VOLUNTARY INTERVIEW WITH THE DEFENSE CRIMINAL
               INVESTIGATIVE SERVICE
               54. On October 12, 2022, DCIS Special Agents executed a voluntary interview of Glines at the
               Pentagon, Washington, D.C. (Attachment 26). Reporting Agent read, explained, and executed a
               DCIS Form 70 – Warnings and Assurances to Employee Requested to Provide Information on a
               Voluntary Basis (Garrity) with Glines. Glines acknowledged her rights, signed the form, and
               agreed to speak voluntarily with agents. The interview was recorded and transcribed
               (Attachment 23).

               55. During the interview, Glines admitted that she had used her official position to help her
               husband and his company, Blue Sky Innovators. Furthermore, she failed to recuse herself from
               matters in which she had a personal financial interest/conflict of interest, and failed to seek
               guidance and/or report all perceived or actual conflicts of interest to her supervisor and/or DoN
               attorneys. Glines acknowledged that she had received ethics training throughout her DoN career
               and knew she had an obligation to seek guidance, report her conflicts, and recuse herself in
               matters involving her husband’s company. She acknowledged that she did not do this for every
               conflict involving Blue Sky Innovators.

               KRISTINA GLINES FAILURE TO RECUSE HERSELF IN (b)(7)(A), (b)(6), (b)(7)(C)
               SPECIAL ACCESS PROGRAM SUSPENSION
               56. On August 20, 2020, (b)(7)(A), (b)(6), (b)(7)(C) , SETA, Blue Sky Innovators, committed a
               security violation while assigned to the DARPA,(b)(7)(A)

                                                                                                           57.
                        Investigative action confirmed         was a Blue Sky Innovators employee at the time of the
                                                         (b)(7)(A), (b)(6), (b)(


               incident.          supported DARPA as a SETA via a (b)(7)(A)
                         (b)(7)(A), (b)(6), (b)(                                             contract awarded to
               (b)(7)(A)                                         .           support to DARPA was codified in
                                                                                            (b)(7)(A), (b)(6), (b)(7)(C




               a subcontract agreement executed between (b)(7)(A)                 and Blue Sky Innovators
               (Attachment 29). The contract, valued at (b)(7)(A) required           to support DARPA ACO
                                                                                                                          (b)(7)(A), (b)(6), (b)(




               from August 1, 2020 to December 17, 2020.              timecard confirmed charged          direct
                                                                           (b)(7)(A), (b)(6), (b)(7)(C

                                                                                                                                                                      (b)(7)(                     (b)(7)(A)


               labor to this contract as a Blue Sky Innovators subcontractor. Specifically,        billed this                                                          (b)(7)(A), (b)(6), (b)(


               DARPA SETA support work as direct labor from August 3, 2020 to November 3, 2020, via job
               code (b)(7)(A)                                              .

               58. On October 9, 2020, (b)(7)(A), (b)(6), (7)(C)              , DoD SAPCO, notified SAPCO
               Directors and Security Directors of DARPA’s decision to suspended                 SAP accesses
                                                                                                                                                    (b)(7)(A), (b)(6), (b)(7)(C




               across the SAP community – DARPA, DoN, USAF, etc. – via reciprocity suspension. At the
               time of this notification, Glines was on maternity leave. In her absence, (b)(7)(A), (b)(6), (7)(C)

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               (b)(7)(A), (b)(6), (b)(7)(C), N9SP, assumed her duties as the Acting Director of Security and led
               N9SP’s effort to suspend         DoN SAP access.                                                                                                        documented                                    role in
                                                                     (b)(7)(A), (b)(6), (b)(7)(C                                                                                                                                          (b)(7)(A), (b)(6), (b)(7)(C

                                                                                                                                                    (b)(7)(A), (b)(6                                     (b)(7)(A)


               DoN SAP suspension in a timeline (Attachment 31).

               59. On October 19, 2020, Glines returned from maternity leave and reassumed her duties as the
               Director of Security, N9SP.       relinquished the role of Acting Director of Security and
               reassumed     duties as                                 .      continued to work on
                                                                               (b)(7)(A), (b)(6                                                                                                                                                (b)(7)(A), (b)(6), (b)(7)(C

                                         (b)(7)(A)                                                                                                           (b)(7)(A), (b)(6


               DoN SAP suspension. (b)(7)(A), (b)(6), (b)(7)(C)

               60. On November 12, 2020,    forwarded an e-mail chain entitled “FW: (U//FOUO –
                                                                              (b)(7)(A), (b)(6


               PII/FOUO//HVSACO) DARPA Suspension –            (Contains PII)” to Glines about DARPA’s                    (b)(7)(A), (b)(6), (b)(


               decision to suspend       SAP accesses (Attachment 31). Glines responded to
                                                     (b)(7)(A), (b)(6), (b)(7)(C)               and                                                                                                                                     (b)(7)(A), (b)(6),


               wrote the following:
                 (b)(7)(A), (b)(6), (b)(7)(C)




                                                                         (b)(7)(A), (b)(6), (b)(7)(C)

                                                                                                                                                                                                           (b)(7)(A), (b)(6),




               61. Although Glines acknowledged this actual conflict of interest, and the need to recuse herself;
               she chose to ignore her own guidance and instead took over from           and directly inserted                                                                       (b)(7)(A), (b)(6


               herself into this matter where she participated, personally and substantially, into a matter that she
               had a personal financial interest (Attachments 32 and 33).

               62. Throughout Glines work on N9SP’s decision to suspend, or not suspend                  DoN SAP
               accesses, she interacted with a multitude of security professionals to include, but not limited to,
                                                                                                                                                                                                                     (b)(7)(A), (b)(6), (b)(7)(C




               personnel assigned to N9SP, NELO, DoD SAPCO, USAF SAPCO, and DARPA SAPCO. At no
               time did Glines ever disclose to any of these parties that        was an employee of her                                                    (b)(7)(A), (b)(6), (b)(


               husband’s company, she had an actual conflict of interest, and a personal financial interest in this
               matter. Glines never requested guidance, waiver of exemption from disqualification, or
               disclosed this conflict to her supervisor,        or DoN OGC. Instead, Glines kept this  (b)(7)(A), (b)(6), (b)(7


               information a closely guarded secret and only disclosed this conflict to DCIS agents on October
               12, 2022 (Attachment 23).

               63. During the interview with DCIS, Glines admitted that when she became involved in the
                      DoN SAP suspension matter, circa November 2020, she knew            worked for her
                                                                                                                                                                                                   (b)(7)(A), (b)(6), (b)(
               (b)(7)(A), (b)(6), (b)(


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               husband’s company. Glines also knew                worked at DARPA on a Blue Sky Innovators
                                                                                                      (b)(7)(A), (b)(6), (b)(




               contract. Initially, Glines questioned DARPA’s decision to suspend              SAP accesses;
                                                                                                                                                                                                     (b)(7)(A), (b)(6), (b)(7)(C




               however, she acknowledged that if she did not suspend               DoN SAP accesses it would
                                                                                                                                                            (b)(7)(A), (b)(6), (b)(7)(C




               look like “favoritism” towards her husband’s company. Glines understood that without SAP
               access,          could not perform his SETA contract work at DARPA, and subsequently could
                       (b)(7)(A), (b)(6), (b)(




               not bill    direct labor to the contract. Instead,          salary would have to be paid by
                       (b)(7)(A)                                                                                                (b)(7)(A), (b)(6), (b)(7)(C




               Blue Sky Innovators as overhead. Glines’ personal and substantial involvement in this
               particular matter had a direct and predictable effect on an outcome that could affect her
               personal financial interest.

               64. Glines admitted sharing information about           SAP suspension with her husband as it
               was being adjudicated. Glines acknowledged she shared non-public information with her
                                                                                                                            (b)(7)(A), (b)(6), (b)(7)(C




               husband; however, did not believe this was wrong or inappropriate. Glines rationalized her
               actions wherein she told agents she would have shared this type of information with other
               corporate leaders who requested information about their employee in the same situation. As
               such, she was sharing information she would have shared with others. Glines did not feel this
               was inappropriate behavior.

               65. Glines ultimately agreed with DARPA’s decision to suspend              DoN SAP accesses.
               Glines recommended                DoN SAP access be suspended to           , who in turn made the
                                                                                                                                                                                          (b)(7)(A), (b)(6), (b)(7)(C




               final decision to suspend            DoN SAP accesses. Agents interviewed N9SP, DoD SAPCO,
                                                              (b)(7)(A), (b)(6), (b)(7)(C                                                                                                   (b)(7)(A), (b)(6), (b)




               USAF SAPCO, and DARPA SAPCO personnel to determine if Glines tried to dissuade them
                                                                        (b)(7)(A), (b)(6), (b)(7)(C




               from suspending              SAP accesses; she did not. There is no evidence Glines used her
                                                 (b)(7)(A), (b)(6), (7)(C)

               position to attempt to influence anyone not to suspend             SAP accesses, or do anything
               illegal or unethical that benefitted Blue Sky Innovators (Attachments 32, 33, 34, 35, 36, 37, 38,
                                                                                                                                                          (b)(7)(A), (b)(6), (b)(7)(C




               39, 40, 41, 42, and 43). Glines admitted that she should not have participated in this matter,
               should have recused herself, and notified         of her conflict; decisions she now regrets.
                                                                                                            (b)(7)(A), (b)(6), (b)




               KRISTINA GLINES REQUESTED JOINT ACCESS DATABASE ENVIRONMENT
               ACCOUNTS FOR BLUE SKY INNOVATORS EMPLOYEES
               66. Glines admitted that she requested DoD SAPCO JADE accounts for her husband, and other
                                   employees, while acting in her official capacity as the Director of Security,
               N9SP (Attachment 23). On January 17, 2019, Glines, electronically approved and submitted a
               request to DoD SAPCO for the creation of a JADE account for her husband.

               67. (b)(7)(A), (b)(6), (b)(7)(C) JADE (b)(7)(A), (b)(6), (7)(C), DoD SAPCO, confirmed       office received the                                                                                (b)(7)(A),


               request from Glines to create an account for Tkacz. There were no justifications or comments
               listed as to why Tkacz needed a JADE account.                           approved the creation of the JADE
               account and issued Tkacz an account with “General User” privileges (Attachments 44 & 45).
                                                                                                                                     (b)(7)(A), (b)(6),




               Tkacz completed a JADE User Agreement and listed his organizational assignment as the Office
               of Naval Research/PMR-51 (Attachment 46).

               68. Glines reported she approved and submitted multiple JADE account requests to DoD SAPCO
               for her spouse and other                    employees. Glines explained she submitted the

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               requests for                     employees because they were required to maintain JADE
               accounts as a function of their SETA duties on U.S. Navy contract N3237B-15-D-6816, wherein
               Blue Sky Innovators was a subcontractor to ECS Federal, LLC (Attachment 15).

               69. Glines explained she received multiple request from the Navy Program Office to create
               JADE accounts for                        SETAs. Glines explained she approved the creation of
               the JADE accounts as a function of her duties as the Director of Security in support of the Navy
               Program Office. Glines claimed she was the only person that could issue JADE accounts and
               subsequently did so as a function of her official duties. Glines claimed her failure to approve the
               accounts would have negatively impacted the program.

               70. Investigative action confirmed Tkacz supported a U.S. Navy program office, associated to
               PMR-51, as a SETA via contract N3237B-15-D-6816. Tkacz’s timecard confirmed he charged
               his direct labor to this contract as a Blue Sky Innovators subcontractor. Specifically, Tkacz
               billed his U.S. Navy support work as direct labor from January 2019 to October 2019, via job
               code “Navy – ECS Federal – B2-SC-132010” (Attachment 47).

               71. Glines acknowledged she approved and submitted the JADE accounts for Blue Sky
               Innovators employees but did not believe her actions were inappropriate. Glines reported she
               would never do it again.

               KRISTINA GLINES PARTICIPATION IN OFFICIAL GOVERNMENT MEETINGS
               WITH HER HUSBAND
               72. Glines was asked if she ever disclosed classified information to her husband for which he did
               not have a need-to-know. Glines reported she had never done this. To date, there is no evidence
               Glines has ever made any unauthorized disclosers of classified information to any individuals not
               authorized to receive that information. Glines reported she never discusses classified
               information with her husband; however, Glines reported she may have had a meeting or call with
               her husband where they discussed classified information.

               73. Glines was asked how many meetings she attended where her husband represented Blue
               Sky Innovators. Glines reported it “probably happened a handful of times.” Glines explained
               she attended meetings where her husband attended in his capacity as a Blue Sky Innovators
               SETA. Tkacz attended these meetings as a Blue Sky Innovators SETA supporting the U.S.
               Navy via the ECS Federal, LLC contract N3237B-15-D-6816 (Attachment 15). This is the same
               contract wherein Glines approved JADE accounts for her husband and other Blue Sky
               Innovators SETAs supporting the contract. This contract supports DoN SAP equities that fall
               under Glines’ jurisdiction as the Director of Security, N9SP.

               74. Glines explained she attended the meetings in her official capacity as the Director of Security
               while her husband attended the meeting as a SETA. In addition to her husband’s participation,
               other Government personnel attended the meeting to discuss security efforts for Navy programs
               involving DoN SAP equities. Glines reported the meetings included discussions about the
               program, program security, security related decisions, managing test plans, and transporting

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               assets. Glines attended these meetings because, by virtue of her position as the Director of
               Security for N9SP, her approval was needed.

               75. Glines did not think her attendance at the meetings with her husband was wrong. When
               challenged on the appropriateness of her attendance at these meetings, Glines countered and
               explained she needed to go the meetings and “if anything, it would be he’s [Tkacz] not allowed
               to go to the meeting” and “if anybody is getting kicked out, he’s [Tkacz] the one should have
               been kicked out. Not me.” Glines did not think there was anything concerning about being in
               the same meetings with her husband. Glines believed she had to be there as a function of her
               duties as the Director of Security.

               KRISTINA GLINES MISUSE OF POSITION & FAILURE TO SEPARATE PERSONAL
               AND BUSINESS RELATIONSHIPS
               76. Agents obtained and reviewed Glines’ U.S. Navy unclassified and CNET classified e-mails.
               The unclassified email data set was not complete, it did not include emails that were permanently
               deleted. The number of missing emails is unknown.

               77. Emails were identified that demonstrated as early as 2015, Glines willingly misused her
               position; failed to separate personal and business relationships; and disregarded her obligation to
               abide by the ethical standards expected of a Government employee. Others, such as subordinates
               and friends, accommodated Glines inappropriate and unethical requests.

               78. The first known instance was on September 1, 2015, when Glines requested (b)(7)(A), (b)(6), (b)(7)(C),
               (b)(7)(A), (b)(6), (7)(C)      , N9SP, to check on the status of her husband’s Program Access
               Request (PAR) (Attachment 48). In the e-mail, Glines wrote the following:



                                                                                  (b)(7)(A), (b)(6), (b)(7)(C)



                 (b)(7)(A), (b)(




               79.            was interviewed and
                      (b)(7)(A), (b)(6), (b)(7)(C)    provided information about the aforementioned request  (b)(7)(A)


               (Attachment 49).             reported that, at the time of the request, Glines was his immediate
                                                               (b)(7)(A), (b)(6), (b)(7)(C




               supervisor.             was in charge of the PAR adjudication process and this request fell within
                                               (b)(7)(A), (b)(6), (b)(7)(C




               his jurisdiction.           reported the only difference with this particular PAR request was that
                                                            (b)(7)(A), (b)(6), (b)(7)(C




               it was for Glines’ husband.             opined      would have reviewed the PAR and determined if
                                                                                                                            (b)(7)(

                                                                                             (b)(7)(A), (b)(6), (b)(7)(C)


               access was needed based upon a review of the justification provided. Sometimes PARS would
               have to go through the Office of the Chief of Naval Operations (OPNAV) Special Programs

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               Division (N89) for final review.           could not recall if Tkacz's PAR was approved, but(b)(7)(A), (b)(6), (b)(7)(C)


               believed it was, and Tkacz had a valid official need for the access.

               80. With regard to the appropriateness of Glines using her position to speed up the approvals
               process for her husband,            opined there was nothing wrong with it.              explained
                                                                                (b)(7)(A), (b)(6), (b)(7)(C)


               that regardless of Glines relationship with Tkacz, it was in her professional interest to move
                                                                                                                                                                                          (b)(7)(A), (b)(6), (b)(7)(C




               PARS through the system. Furthermore,                stated the PAR for Tkacz would have been
               reviewed eventually, so the approval was based on a legitimate need for SAP access.
                                                                                                                                   (b)(7)(A), (b)(6), (b)(7)(C




               stated romantic or familial relationships between Government employees and contractors were
                                                                                                                                                                                                                        (b)(7)(A), (b)(6), (b)(7)(C




               perhaps slightly more closely scrutinized, but maintained there was nothing wrong with Glines
               intervening on her husband’s behalf.             reported     did not feel compelled to speed up
                                                                                                                                                                        (b)(7)(

                                                                                                                        (b)(7)(A), (b)(6), (b)(7)(C)


               the approval process for Tkacz’s PAR.

               81. On September 2, 2015,          e-mailed Glines the status of her husband’s PARs
               (Attachment 50).          wrote the following:
                                                                                         (b)(7)(A), (b)(6), (b)(7)(C


                                                           (b)(7)(A), (b)(6), (b)(7)(C



                     (b)(7)(A), (b)(6), (b)(7)(C)




                      (b)(7)(A), (b)(6), (b                                                                                                                                                                                    (b)(7)(A), (b)(6), (b)(7)(C)




                                              (b)(7)(A), (b)(6), (b)(7)(C)



               82. On September 3, 2015, Glines thanked          for checking on the status of her husband’s
               PARs. Glines asked           to let her know when Tkacz’s PARS made it back to N89
                                                                                                                                          (b)(7)(A), (b)(6), (b)(7)(C




               (Attachment 50).
                                                                   (b)(7)(A), (b)(6), (b)(7)(C




               83. Glines cavalier attitude is fully on display via a September 16, 2015 email exchange between
               her and her husband regarding his PAR status (Attachment 51). In this exchange, Glines told her
               husband his PAR was at N89. Tkacz told Glines to have                                    call                         and
               jokes “Fyi I think this constitutes direction from a Government             superior.” (b)(7)(A),
                                                                           (b)(7)(A), (b)(6), (b)(7)(C)
                                                                                                             In response,       Glines
                                                                                                                   (b)(6), (b)(7)(C)

               jokingly wrote “Lol…I can’t call and expedite PARs for my family :-).”                              was carbon
               copied on the e-mail.
                                                                                                                                                                                  (b)(7)(A), (b)(6),




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               2019002173-80SI-B0/F                                                                                                                                                                                   22




                                                                                                                                                                                          (b)(7)(A), (b)(6), (b)(7)(C)


                                                                            (b)(7)(A), (b)(6), (b)(7)(C)




                           (b)(7)(A), (b)(6), (b)(7)(C)




               84.        was interviewed about this e-mail exchange (Attachments 52).
                           (b)(7)(A), (b)(6),
                                                                                                 reported                                                     (b)(7)(A), (b)(6),
                                                                                                                                                                                                          (b)(7)(A)


               relationship with Glines is predominately of a personal nature, which includes having dinner at
               Tkacz and Glines’ home.          reported Glines’ husband, Tkacz, is
                                                                     (b)(7)(A), (b)(6),
                                                                                         friend and work                                          (b)(7)(A)


               colleague at DARPA. They have maintained a personal relationship since 2015.

               85.                              recalled the e-mail and explained that                               and Tkacz typically would not have reached
                                                                                                             (b)(7)(A)
                           (b)(7)(A), (b)(6),



               out to Glines for assistance in getting this type of access request moving; however, stated they
                                                                                                                                                                                     (b)(7)(




               were trying to “move bureaucracy along.”             further explained that the usual process for
                                                                                             (b)(7)(A), (b)(6),




               getting a PAR through the system involved routing the request through the OPNAV Special
               Programs Division (N89).            stated this process was inefficient so, on occasion, and
                                                                       (b)(7)(A), (b)(6),

                                                                                                                                                                                          (b)(7)(A)


               Tkacz would go to Glines to try to expedite the paperwork.            explained that in the position
                                                                                                                             (b)(7)(A), (b)(6),




                  held at that time, was able to facilitate the submission of PARS, but was not involved in
               (b)(7)(A)                                 (b)(7)(A)


               processing the PARS. Hence, required Glines’ assistance.          (b)(7)(A)




               86. As to the appropriateness of Tkacz using his wife to speed up PAR approvals for himself,
                     did not believe there was anything wrong with what Glines and Tkacz did.
               explained that regardless of Glines’ intervention, Tkacz’s PAR would have been reviewed by all
               (b)(7)(A), (b)(6),                                                                                                                                                  (b)(7)(A), (b)(6),




               the same people, so the approval was still based on a legitimate need for SAP access.
                                                                                                                                                                                               (b)(7)(A), (b)(6),




               opined the interaction between Tkacz and Glines was only unusual because of their relationship
               as a married couple.

               87. In April 2016, Glines again demonstrated her willingness to compromise her ethics by
               assisting her husband using her official position. Glines did so wherein Tkacz asked Glines to
               check the status of their Facility Clearance (FCL) (Attachment 53). Tkacz asked Glines to check
               if Blue Sky Innovators had a FCL, and if not, could she find someone who could check. Glines
               reported that Tkacz needed to update their CAGE code. It is unclear through the exchange if she


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               was able to get the answer Tkacz requested; however, Glines confirmed there was a problem
               with their CAGE code.

               88. Glines was asked how many times she executed database checks using U.S. Government
               computer systems for her husband. Glines acknowledged she did this for her husband but did
               not provide a specific number of instances. Glines reported she accessed U.S. Government
               computer systems to find out her husband’s security clearance access date. Glines acknowledged
               that the Blue Sky Innovators FSO could do this as part of his industrial security duties. Glines
               rationalized running database checks for her husband as something she would do for other
               companies and personnel. As such, Glines did not believe she was doing anything wrong, nor
               was she doing a favor for her husband. In retrospect, Glines acknowledged she should not have
               conducted these checks (Attachment 23).

               89. A review of                     PARS obtained from DoD SAPCO and N9SP failed to
               identify any PARS wherein Glines was an approver. The PARS obtained from DoD SAPCO
               was limited in scope to a sample of PARS for Tkacz, (b)(7)(A), (b)(6), (b)(7)(C)    .
               provided investigators with N9SP JADS PAR results for Blue Sky Innovators DoN PAR
                                                                                                           (b)(7)(A), (b)(6), (b)(7)




               accesses. A review of the records, did not identify Glines as an approver on the PARS.

               DEPARTMENT OF JUSTICE
               90. On October 18, 2022, DCIS contacted (b)(7)(A), (b)(6), (b)(7)(C) Department of Justice,
               Criminal Division, Public Integrity Section, Washington, D.C. to discuss the October 12, 2022,
               DCIS voluntary interview of Glines via Garrity. Reporting Agent briefed         on the
                                                                                          (b)(7)(A), (b)


               investigation of Glines and her admission of various ethics violations. Based on this discussion,
               the Public Integrity Section declined to open a criminal investigation regarding the conflict of
               interest allegations concerning Glines. Should new information and/or evidence be developed,
               the Department of Justice will be re-contacted to reconsider prosecution (Attachment 54).

               OFFICE OF GOVERNMENT ETHICS NOTIFICATION
               91. On October 18, 2022, DCIS filed OGE Form 202 – Notification of Conflict of Interest
               Referral Part 1: Initial Notification; Part 2: Disposition of Referral; and Part 3: Consideration
               of Corrective Action with the Office of Government Ethics, Washington D.C. The notification
               pertained to ethics violations committed by Glines. The Office of Government Ethics Tracking
               Number for this referral is OGE-2023-0443 (Attachment 55).

               COORDINATION OF REMEDIES
               92. Glines’ decisions, actions, and behavior, raises serious questions about her eligibility,
               suitability, and fitness to maintain a security clearance, occupy a national security sensitive
               position, and access classified material. As such, DCIS will coordinate administrative remedies
               with DoD SAPCO, N9SP, DoN OGC, and DCSA to address these concerns.

               93. On October 12, 2022,        suspended Glines from work and suspended her access to
                                         (b)(7)(A), (b)(6), (b)(7


               SAPs. No decision as to suspension duration, reassignment, termination, etc. has been made.



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               94. Tkacz’s willingness to utilize, and exploit, his wife’s position as the Director of Security,
               N9SP, in furtherance of his business, raises serious questions about his, and his company’s,
               ethical conduct and commitment to comply with federal law. Tkacz’s behavior runs counter to
               48 C.F.R. § 52.203-13 – Contractor Code of Business Ethics and Conduct. As such, this
               investigation will be referred to the Interagency Suspension and Debarment Committee, and the
               appropriate debarring officials, for suspension and debarment consideration. This referral will be
               made at the conclusion of this investigation.

               CONCLUSION
               95. The investigation of Glines is finished and culpability established; however, this
               investigation will remain open pending final resolution of the other allegations (b)(7)(A)

                                                                                                            96.     (b)(7)(A)




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               Attachments:

               1.
                     (b)(7)(A)
               2.
                     (b)(7)(A)
               3.
                     (b)(7)(A)
               4.
                     (b)(7)(A)
               5.
                     (b)(7)(A)
               6.                                                       20
                     (b)(7)(A)
               7.
                     (b)(7)(A)
               8.
                     (b)(7)(A)
               9.
                     (b)(7)(A)
               10.
                     (b)(7)(A)
               11.
                     (b)(7)(A)
               12.
               13. (b)(7)(A)
               14. (b)(7)(A)
               15. (b)(7)(A)
                   (b)(7)(A)
               16. DCIS Form 1 – Marriage License – Timothy Tkacz and Kristina Glines, dated February
                   9, 2021
               17. DCIS Form 1 – Property Records Timothy Tkacz and Kristina Glines, dated February
                   11, 2021
               18. DCIS Form 1 – Kristina Glines – Navy Total Workforce Management Services Training
                   Records, dated March 5, 2021
               19. DCIS Form 1 – Kristina Glines Navy Ethics Training Modules, dated March 18, 2021
               20. Department of the Navy, Office of General Counsel Ethics Documents – Kristina Glines,
                   multiple dates
               21. Memorandum for Kristina Glines – 2022 Annual Executive Branch Confidential Financial
                   Disclosure Report (OGE 450), undated
               22. (b)(7)(A),
                        ​         (b)(6), (b)(7)(C)
               23. (b)(7)(A),
                          ​       (b)(6), (b)(7)(C)
               24. (b)(7)(A),
                            ​     (b)(6), (b)(7)(C)
               25. (b)(7)(A), ​   (b)(6), (b)(7)(C)
               26. (b)(7)(A),   ​ (b)(6), (b)(7)(C)
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               27. (b)(7)(A)
                        ​

               28. (b)(7)(A)
                        ​
               29. (b)(7)(A)
                          ​

               30. (b)(7)(A),
                          ​                           (b)(6), (b)(7)(C)
               31. (b)(7)(A),
                            ​                         (b)(6), (b)(7)(C)
               32. (b)(7)(A), ​                       (b)(6), (b)(7)(C)
               33. (b)(7)(A),   ​                     (b)(6), (b)(7)(C)
               34. (b)(7)(A),     ​                   (b)(6), (b)(7)(C)
               35. (b)(7)(A),       ​                 (b)(6), (b)(7)(C)
               36. (b)(7)(A),         ​               (b)(6), (b)(7)(C)
               37. (b)(7)(A),           ​             (b)(6), (b)(7)(C)
               38. (b)(7)(A),             ​           (b)(6), (b)(7)(C)
               39. (b)(7)(A),               ​         (b)(6), (b)(7)(C)
               40. (b)(7)(A),
                   (b)(7)(A)                  ​       (b)(6), (b)(7)(C)
               41. (b)(7)(A),                   ​     (b)(6), (b)(7)(C)
               42. (b)(7)(A),                     ​   (b)(6), (b)(7)(C)
               43. (b)(7)(A),                       ​ (b)(6), (b)(7)(C)
               44. DCIS Form 1 – Joint Access Database Environment Account Information, dated December
                   3, 2020
               45. DCIS Form 1 – Joint Access Database Environment Account Information, dated October 6,
                   2022
               46. Timothy Tkacz, Blue Sky Innovators Timesheet, multiple dates
               47. E-mail entitled: “PAR,” dated September 1, 2015
               48. (b)(7)(A), (b)(6), (b)(7)(C)

               49. E-mail chain entitled: “RE: PAR,” various dates
               50. E-mail Entitled: “RE: PAR,” dated September 16, 2015
               51. (b)(7)(A), (b)(6), (b)(7)(C)

               52. E-mail entitled: “RE: Can you see if we have an FCL yet?,” dated April 27, 2016
               53. DCIS Form 1 – Department of Justice Prosecution Decision, dated October 18, 2022
               54. DCIS Form 1 – Office of Government Ethics Referral – Kristina A. Glines, dated October
                   19, 2022




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               Identity of Suspect(s):

               Name                                    : Kristina Arlene Glines
               Alias                                   : Kristina Glines Tkacz
               Social Security Number                  :
               Date/Place of Birth                     :
               Race                                    : Caucasian
               Sex                                     : Female
               Residence                               : 1605 Palm Springs Drive, Vienna, Virginia 22182
               Employment/Occupation                   : Department of the Navy Special Programs
                                                         Office/Department of the Navy Special Access
                                                         Program Central Office/Director of Security
               Driver’s License Number                 :
               and Issuing State                         Virginia




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               Name                                    : Timothy James Tkacz
               Alias                                   : N/A
               Social Security Number                  : (b)(7)(A), (b)(6), (b)(7)(C)
               Date/Place of Birth                     : (b)(7)(A), (b)(6), (b)(7)(C)
               Race                                    : Caucasian
               Sex                                     : Male
               Residence                               : 1605 Palm Springs Drive, Vienna, Virginia
               Employment/Occupation                   : Blue Sky Innovators, Incorporated/President
                                                         and Chief Executive Officer
               Driver’s License Number                 :(b)(7)(A), (b)(6), (7)(C)
               and Issuing State                         Virginia




                Prepared by: (b)(6), (b)(7)(C)              Approved by: (b)(6), (b)(7)(C)


          (b)(6), (b)(7)(C)(b)(6), (b)(7)(C)
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               EXHIBIT D
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                        DEPARTMENT OF THE NAVY
                  OFFICE OF THE CHIEF OF NAVAL OPERATIONS
                             2000 NAVY PENTAGON
                          WASHINGTON DC 20350-2000

                                                                     IN REPLY REFER TO

                                                                     5520
                                                                     N9SP/22U-144879
                                                                     10 NOV 2022


From: Director of the Department of the Navy Special Programs

To: Senior Intelligence Officer

Subj: Report of Investigation for Ms. Kristina E. Glines

Ref: (a) 2019002173-80SI-B0/F Report of Investigation 2019002173-138

1. Based on references (a): The investigation of Kristina E. Glines is effectively closed
and culpability established.

2. SSO Navy will make a decision regarding suspension of access to classified
information based upon the results. All relevant information obtained will be forwarded
to the Department of Defense Consolidated Adjudication Service for the final
adjudicative decision.

3. For any questions or comments concerning this letter, please contact, Bertrand A.
Eden, GS-13, Government SAP Security Officer, (703) 693-2010.

                                                                                     11/14/2022



                                                    X B. T. Howes
                                                    B.T. HOWES


                                                    Signed by: USN
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               EXHIBIT E
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  STATEMENT OF REASONS (SOR) FOR MS. KRISTINA A. GLINES,

The information listed below was derived from the documents listed at the end of this attachment
(Attachment 1, Statement of Reasons). Each item of disqualifying information falls under one or
more of the security guidelines listed below.

GUIDELINE E: Personal Conduct
Available information shows issues of Personal Conduct on your part.

Conduct involving questionable judgment, lack of candor, dishonesty, or unwillingness to
comply with rules and regulations can raise questions about an individual’s reliability,
trustworthiness, and ability to protect classified or sensitive information. Of special interest is
any failure to cooperate or provide truthful and candid answers during national security
investigative or adjudicative processes.
Per the Adjudicative Guidelines, conditions that could raise a security concern and may be
disqualifying include:
The Department of Defense Inspector General, Defense Criminal Investigative Service (DCIS)
opened an investigation on May 30, 2019, after a referral from the Deputy Director of Security,
Department of Defense Special Access Program (SAP), regarding questionable SAP accesses for
                     , Incorporated. Your spouse founded                       , Incorporated in
2013 and is the President and Chief Executive Officer. The referral also included the allegation
that you used your official U.S. Government position as Director of Security, Department of The
Navy Special Programs Office/Department of the Navy Special Access Program Central Office
(SAPCO) (N9SP), Pentagon, Washington, D.C. to benefit your financial position, potentially
amounting to a conflict of interest.
As an employee of the executive branch of the U.S. government, you have an obligation to abide
by 5 C.F.R. § 2635 - Standards of Ethical Conduct for Employees of the Executive Branch. The
basic obligation of public service is that it is a public trust. The general principles apply to every
employee. These principles include, but are not limited to, the following:
    1. Employees shall not hold financial interests that conflict with the conscientious
       performance of duty;
    2. Employees shall act impartially and not give preferential treatment to any private
       organization or individual;
    3. Employees shall endeavor to avoid any actions creating the appearance that they are
       violating the law, or the ethical standards set forth in this part. Whether particular
       circumstances create an appearance that the law or these standards have been violated
       shall be determined from the perspective of a reasonable person with knowledge of the
       relevant facts.
On October 12, 2022, during an interview with DCIS Special Agents, you admitted that you used
your official position to help your husband and his company,                          . Furthermore,
the report revealed that you failed to recuse yourself from matters in which you had a personal
financial interest/conflict of interest and failed to seek guidance or report all perceived or actual
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conflicts of interest to your supervisor and/or Department of Navy (DoN) attorneys. You
acknowledged that you had received ethics training throughout your DoN career and knew you
had an obligation to seek guidance, report your conflicts, and recuse yourself in matters
involving your spouse’s company. You acknowledged that you did not do this for every conflict
involving                       .
The DCIS report disclosed that on August 20, 2020, an employee of
committed a security violation while assigned to the Defense Advanced Research Projects
Agency (DARPA), Adaptive Capabilities Office (ACO), Arlington, Virginia. At this time, you
were on leave, and in your absence, the Deputy Director of Security assumed your duties as the
Acting Director of Security and led the effort to suspend the                      employee’s
DoN SAP access. On October 19, 2020, you returned from leave and resumed your role as
Director; however, the Deputy Director continued to work on the                      employee
SAP suspension. On November 12, 2020, the Deputy Director forwarded an email chain to you
regarding the employee’s suspension decision. You responded, “I need to recuse myself from
this specific case. This [Systems Engineering and Technical Assistance] SETA works for my
husband’s company. I don’t want any decision to appear bias [sic].” You remained involved
even after acknowledging your conflict. You questioned DARPA’s decision to suspend the
employee’s SAP accesses; however, you were aware that if you did not suspend the employee’s
DoN SAP accesses, it would look like “favoritism.” You also admitted to sharing information
about the employee’s SAP suspension with your spouse as it was being adjudicated. You did not
believe this was wrong or inappropriate. You stated that you would have shared this type of
information with other corporate leaders who requested information about their employee in the
same situation. Nonetheless, you stated that you should not have participated in this matter,
should have recused yourself, and notified your supervisor of your conflict.
According to the DCIS investigative report, you admitted to requesting DoD SAPCO Joint
Access Database Enterprise (JADE) accounts for your spouse and other
employees while acting in your official capacity as the Director of Security. On January 17,
2019, you electronically approved and submitted a request to DoD SAPCO for the creation of a
JADE account for your spouse. You told the investigator that you did not believe your actions
were inappropriate but would never do it again.
As part of the DCIS investigation, DCIS agents obtained and reviewed your U.S. Navy
unclassified and CNET classified e-mails. According to the report, your e-mails showed that as
early as 2015, you misused your position, failed to separate personal and business relationships,
and disregarded your obligation to abide by the ethical standards expected of a government
employee.
For instance, on September 1, 2015, you requested that the Senior Security Manager check on
the status of your spouse’s Program Access Request (PAR). In a September 16, 2015, e-mail
exchange between you and your spouse regarding his PAR status, you told your spouse his PAR
was at N89. Your spouse said to you, “Fyi I think this constitutes direction from a government
superior.” In response, you wrote, “Lol…I can’t call and expedite PARs for my family :-).”


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DCIS interviewed an employee copied on the e-mail exchange. He described his relationship
with you as predominately personal in nature and your spouse as a friend and work colleague. He
explained that he and your spouse typically would not have reached out to you for assistance in
getting this type of access request moving; however, he stated they were trying to “move
bureaucracy along.” The employee further explained that the usual process for getting a PAR
through the system involved routing the request through the OPNAV Special Programs Division
(N89). The employee stated this process was inefficient so on occasion, he and your spouse
would go to you to try to expedite the paperwork. The employee added that in the position he
held at that time, he was able to facilitate the submission of PARS but was not involved in
processing the PARS. Hence, he required your assistance.
According to the DCIS report, in April 2016, you assisted your spouse using your official
position. Your spouse asked you to check if                         had a Facility Clearance (FCL),
and if you could not check, if you would find someone who could. You were asked how many
times you executed database checks using U.S. government computer systems for your spouse.
You acknowledged executing database checks for your spouse but did not provide a specific
number of instances. You reported accessing U.S. government computer systems to find out your
spouse’s security clearance access date. You acknowledged that the                             FSO
could do this as part of his industrial security duties. You rationalized running database checks
for your spouse as something you would do for other companies and personnel. As such, you did
not believe you were doing anything wrong, nor were you doing a favor for your spouse. In
retrospect, you acknowledged you should not have conducted these checks.
On October 12, 2022, your supervisor suspended you from work and suspended your access to
SAPs.
According to the DCIS report, you misused your position, failed to separate personal and
business relationships, and disregarded your obligation to abide by the ethical standards expected
of a government employee. The investigation found that you were involved with the SAP access
determination of your spouse’s employee, even after you acknowledged your conflict; you used
your official position to expedite the approval process for your spouse’s PAR, and you ran
database checks using U.S. Government computer systems for your spouse, which you
acknowledge you should not have due to your personal relationship. You admitted during your
DCIS interview that you used your official position to help your husband and his company. The
report revealed that you failed to recuse yourself from matters in which you had a personal
financial interest and failed to seek guidance or report all perceived or actual conflicts of interest
to your supervisor or DoN attorneys. DCIS found that your financial interests conflicted with the
conscientious performance of your duties; you failed to act impartially and gave preferential
treatment to a private entity. Your behavior reflects questionable judgment and an unwillingness
to comply with rules and regulations, which raises questions about your reliability,
trustworthiness, and ability to protect classified or sensitive information. Therefore, your
personal conduct is a security concern. (Guideline E, Attachmen t 6)




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                               List of Pertinent Documents

Defense Information System for Security, Incident Report, December 7, 2022

Department of Defense Inspector General, Defense Criminal Investigative Service, Report of
Investigation, #2019002173-80SI-B0/F, October 26, 2022




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             EXHIBIT G
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                                                                    Mary Anne Zivnuska <mzivnuska@sandergroup.org>



DON-NAVY-2024-000756.
Mary Anne Zivnuska <mzivnuska@sandergroup.org>                                                 Thu, Feb 29, 2024 at 6:31 PM
To: usn.ncr.dns.mbx.don-foia-pa@us.navy.mil
Cc: Robert Sander <rsander@sandergroup.org>

 On behalf of Ms. Kristina Glines, The Sander Group submitted an appeal of FOIA Request DON-NAVY-2024-000756,
 which the SECNAV/CNO FOIA Office acknowledged on November 21, 2023, assigning number DON- NAVY-2024-
 000756 to the request.

 While we acknowledge DOD's processing of these requests under a first-in, first-out policy as set forth in 32 CFR 286.8,
 under the Freedom of Information Act a response was due by December 21, 2023. See 5 U.S.C. 552 (a)(6)(A)(ii). Can
 you please let us know when the SECNAV/CNO FOIA office will respond to DON-NAVY-2024-000756?

 You may reach us by email at rsander@sandergroup.org or mzivnuska@sandergroup.org, or by phone at 703-459-0442.

 Sincerely,
 Mary Anne Zivnuska

 --
 Mary Anne Zivnuska
 The Sander Group, PLLC
 https://www.sandergroup.org/

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                                                                    Mary Anne Zivnuska <mzivnuska@sandergroup.org>



OPNAV FOIA POC?
5 messages

Mary Anne Zivnuska <mzivnuska@sandergroup.org>                                                 Tue, Mar 19, 2024 at 10:52 AM
To: jannika.e.cannon.civ@us.navy.mil

 Good morning Jannkia!

 I hope all is well with you-- can you please tell me who the OPNAV FOIA attorney point of contact is, and provide his or
 her contact information?

 r/
 Mary Anne

 --
 Mary Anne Zivnuska
 The Sander Group, PLLC
 https://www.sandergroup.org/

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 any action in reliance on the contents of this information is strictly prohibited. If you have received this
 transmission in error, please promptly notify the sender by reply e-mail, and then destroy all copies of the
 transmission.

                                                                                                   Tue, Mar 19, 2024 at 11:03
Cannon, Jannika E CIV USN CNO (USA) <jannika.e.cannon.civ@us.navy.mil>
                                                                                                                          AM
To: Mary Anne Zivnuska <mzivnuska@sandergroup.org>


 Good morning, Mary Anne,


 How are you? I hope all is well with you also! What can I help you with?


 VR,
 Jannika


 Jannika E. Cannon, Esq.
 Counsel, Office of the Chief of Naval Operations (OPNAV)
 Department of the Navy Office of the General Counsel
 2000 Navy Pentagon Room 5E486
 Washington, DC 20350-2000
 Tel: 703.697.3358
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 Mobile: 571.970.8403


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 confidential use of the recipient(s) designated above. The communications contained therein may be
 protected by attorney-client, attorney work product, deliberative process or other legal privileges.
 Additionally, this e-mail and any accompanying attachments may contain sensitive and pre-decisional
 information that is protected from mandatory disclosure under the Freedom of Information Act
 (FOIA), 5 USC 552. If you are not the intended recipient of this communication (or an agent responsible
 for delivering it to the intended recipient), you are hereby notified that any review, disclosure or use of
 the information contained herein is strictly prohibited. If you have received this communication in
 error, please notify us by telephone, at 703.697.3358, or by return e-mail, immediately. Thank you.
 [Quoted text hidden]



Mary Anne Zivnuska <mzivnuska@sandergroup.org>                                                 Tue, Mar 19, 2024 at 11:21 AM
To: "Cannon, Jannika E CIV USN CNO (USA)" <jannika.e.cannon.civ@us.navy.mil>

 Thanks so much Jannika!

 We have a FOIA request which is overdue & are looking for someone to talk to w/r/t that matter, but there are complicating
 factors concerning an administrative proceeding pertaining to the client for which we need the materials requested-- do
 you have time to discuss over the next day or two? My schedule gets away from me after 12:40 Eastern today.
 Otherwise, I'm happy to discuss with your FOIA counsel.

 Mary Anne
 [Quoted text hidden]



Cannon, Jannika E CIV USN CNO (USA) <jannika.e.cannon.civ@us.navy.mil>                          Tue, Mar 19, 2024 at 1:11 PM
To: Mary Anne Zivnuska <mzivnuska@sandergroup.org>


 What’s the request number? I’ll see if I can get a status.
 [Quoted text hidden]



Mary Anne Zivnuska <mzivnuska@sandergroup.org>                                                  Tue, Mar 19, 2024 at 1:33 PM
To: "Cannon, Jannika E CIV USN CNO (USA)" <jannika.e.cannon.civ@us.navy.mil>

 Thank you so much, the request number is DON-NAVY-2024-000756, which was submitted on November 17th.

  We also want to put in a request to expedite the FOIA/PA response under 32 CFR 286.8(e)(ii)(A). The materials sought
 under that FOIA request are necessary to respond to the client's administrative proceeding before DCSA. The clock on
 her response due date began on March 5 and she currently is slated to respond by May 3-- We need to be able to review
 the materials in advance of the response date in order to respond. There is a compelling need to receive the FOIA/PA
 request materials to avoid an imminent loss of the client's due process rights.

 If you want to discuss, please feel free to call me either on my cell at 202-558-8850, or at 573-764-5426.

 I really appreciate your assistance, Jannika!

 Mary Anne
 [Quoted text hidden]
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               EXHIBIT I
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                                     The Sander Group
                                   6618 Saint Mark Court
                                   Alexandria, VA 22306
                                       (703) 459-0442

                                        November 20, 2023

Defense Counterintelligence and Security Agency
Attn: FOIA/Privacy Office for Adjudications
600 10th Street
Fort George G. Meade, MD 20755-5615
dcsa.meade.dcsa.mbx.privacy-act@mail.mil
(Submitted Via Email Only)

Dear FOIA Coordinator:

This is a request under the Freedom of Information Act (5 U.S.C. 552).

On behalf of Ms. Kristina Glines and as her counsel of record, I request that a copy of the
following document(s) be provided to me:

(a) All materials relating to the DOD IG and DCIS investigation of                     , Inc,
also known as “      These documents would likely be dated in the range of 5/1/2021 to
1/1/2023.

(b) All documents, notes, records, recordings, interviews, emails, text messages, and
conclusions relating to the DOD IG, DCIS, and Navy investigation of Ms. Glines, whether they be
generated by DOD, DCSA, DCIS, or by the Navy. These documents are expected to range from
December 2021 through January 2023.

(c) The final report by former Agent Peter Rozman, Agent Brian Futagaki, and/or any other
DOD IG or DCIS agent(s) or employees regarding Ms. Glines, and any attachments or enclosures
thereto. This document is likely dated in the range of October 2022 to January 2023.

(d) Information, emails, text messages, notations, or other documents in which the report
discussed in request (c), supra, was shared within the Navy, DCSA, DoD IG, or other Government
agencies. These documents would be dated from October 2022 to the present.

(e) The interview notes, impressions, conclusions, and documentation of all interviews
conducted in relation to the DOD and DCSA investigation of Ms. Glines. These email, text
messages, and documents would be dated in the range of December 2021 through January 2023.

(f) All DOD, DCSA, DOD IG and DCIS requests for opinions, guidance, advice, or direction
on the ethical matters pertaining to Ms. Glines. These documents would be dated from 2021 to the
present.
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(g) All information pertaining to the security review of Ms. Glines stemming from the DOD IG
and DCIS investigation; including documentation of whether (and if so, how) DCSA, DOD IG,
and DCIS staff informed any Navy action under procedural requirements of DODM 5200.02 and
other applicable laws and regulations, from December 2021 to the present.

In order to help you determine my status for the purpose of assessing fees, you should know that
Ms. Glines is an individual seeking information for her personal use and not for a commercial use.

I request a waiver of fees for this request because disclosure of the requested information is in the
public interest. This information is likely to contribute significantly to public understanding of the
procedural requirements applicable to operations or activities of the DoD and is not primarily in
her commercial interest. These documents will contribute to an understanding of how the DOD
and the Navy processes security clearance access and eligibility determinations, including the
appropriate processing of these matters pursuant to DODM 5200.02.

This process is otherwise hidden from public view under an inappropriate understanding of the
Supreme Court’s Egan doctrine, with the hiding of such materials creating the impression that the
Navy uses Egan as a shield against review of potentially inappropriate security actions. Egan’s
stated purpose is to protect against judicial review of the substance of the security action, which is
properly reserved to the Executive Branch. Ms. Glines is aggrieved by an improper application of
Egan by the Navy and a failure to follow DoD and Navy procedures. The information on the full
process under DODM 5200.02 and its practical application will be disseminated through the
public court system to allow any individual similarly aggrieved to have their cases addressed
according to whether the Navy followed proper procedural protocols. An understanding of those
procedural protocols will allow individuals to fully adjudicate complaints of improper process in
security matters.

I have also included a telephone number at which I can be contacted if necessary to discuss any
aspect of my request.

                                             Sincerely,




                                             Robert J. Sander
                                             6618 Saint Mark Court
                                             Alexandria, VA 22306
                                             (703) 459-0442
                                             rsander@sandergroup.org

 cc: Ms. Kristina Glines
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                                     The Sander Group
                                   6618 Saint Mark Court
                                   Alexandria, VA 22306
                                       (703) 459-0442

                                        November 20, 2023

Defense Counterintelligence and Security Agency
ATTN: FOIA and Privacy Office for Investigations
1137 Branchton Road, P.O. Box 618
Boyers, PA 16018
dcsa.boyers.dcsa.mbx.inv-foip@mail.mil
(Submitted Via Email Only)

Dear FOIA Coordinator:

This is a request under the Freedom of Information Act (5 U.S.C. 552).

On behalf of Ms. Kristina Glines and as her counsel of record, I request that a copy of the
following document(s) be provided to me:

(a) All materials relating to the DOD IG and DCIS investigation of                     , Inc,
also known as “      These documents would likely be dated in the range of 5/1/2021 to
1/1/2023.

(b) All documents, notes, records, recordings, interviews, emails, text messages, and
conclusions relating to the DOD IG, DCIS, and Navy investigation of Ms. Glines, whether they be
generated by DOD, DCSA, DCIS, or by the Navy. These documents are expected to range from
December 2021 through January 2023.

(c) The final report by former Agent Peter Rozman, Agent Brian Futagaki, and/or any other
DOD IG or DCIS agent(s) or employees regarding Ms. Glines, and any attachments or enclosures
thereto. This document is likely dated in the range of October 2022 to January 2023.

(d) Information, emails, text messages, notations, or other documents in which the report
discussed in request (c), supra, was shared within the Navy, DCSA, DoD IG, or other Government
agencies. These documents would be dated from October 2022 to the present.

(e) The interview notes, impressions, conclusions, and documentation of all interviews
conducted in relation to the DOD and DCSA investigation of Ms. Glines. These email, text
messages, and documents would be dated in the range of December 2021 through January 2023.

(f) All DOD, DCSA, DOD IG and DCIS requests for opinions, guidance, advice, or direction
on the ethical matters pertaining to Ms. Glines. These documents would be dated from 2021 to the
present.
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(g) All information pertaining to the security review of Ms. Glines stemming from the DOD IG
and DCIS investigation; including documentation of whether (and if so, how) DCSA, DOD IG,
and DCIS staff informed any Navy action under procedural requirements of DODM 5200.02 and
other applicable laws and regulations, from December 2021 to the present.

In order to help you determine my status for the purpose of assessing fees, you should know that
Ms. Glines is an individual seeking information for her personal use and not for a commercial use.

I request a waiver of fees for this request because disclosure of the requested information is in the
public interest. This information is likely to contribute significantly to public understanding of the
procedural requirements applicable to operations or activities of the DoD and is not primarily in
her commercial interest. These documents will contribute to an understanding of how the DOD
and the Navy processes security clearance access and eligibility determinations, including the
appropriate processing of these matters pursuant to DODM 5200.02.

This process is otherwise hidden from public view under an inappropriate understanding of the
Supreme Court’s Egan doctrine, with the hiding of such materials creating the impression that the
Navy uses Egan as a shield against review of potentially inappropriate security actions. Egan’s
stated purpose is to protect against judicial review of the substance of the security action, which is
properly reserved to the Executive Branch. Ms. Glines is aggrieved by an improper application of
Egan by the Navy and a failure to follow DoD and Navy procedures. The information on the full
process under DODM 5200.02 and its practical application will be disseminated through the
public court system to allow any individual similarly aggrieved to have their cases addressed
according to whether the Navy followed proper procedural protocols. An understanding of those
procedural protocols will allow individuals to fully adjudicate complaints of improper process in
security matters.

I have also included a telephone number at which I can be contacted if necessary to discuss any
aspect of my request.

                                             Sincerely,




                                             Robert J. Sander
                                             6618 Saint Mark Court
                                             Alexandria, VA 22306
                                             (703) 459-0442
                                             rsander@sandergroup.org

 cc: Ms. Kristina Glines
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             EXHIBIT K
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               DEFENSE COUNTERINTELLIGENCE AND SECURITY AGENCY
                 OFFICE OF PRIVACY, CIVIL LIBERTIES, AND FREEDOM OF INFORMATION
                                     1137 BRANCHTON ROAD
                                     BOYERS, PA 16018-0618




                                                                                  January 5, 2024

Mr. Robert J. Sander
The Sander Group
6618 Saint Mark Court
Alexandria, VA 22306

Re: Ms. Kristina A. Glines

Dear Mr. Sander:

       This is in reference to Ms. Kristina A. Glines’ request that a copy of her information be
provided to you. This perfected request was received by the Department of Defense, Defense
Counterintelligence and Security Agency (DCSA), Freedom of Information and Privacy Act
(FOI/PA) office on December 5, 2023. The information requested included:

(a) All materials relating to the DOD IG and DCIS investigation of                      , Inc,
also known as “         These documents would likely be dated in the range of 5/1/2021 to
1/1/2023.

(b) All documents, notes, records, recordings, interviews, emails, text messages, and
conclusions relating to the DOD IG, DCIS, and Navy investigation of Ms. Glines, whether they
be generated by DOD, DCSA, DCIS, or by the Navy. These documents are expected to range
from December 2021 through January 2023.

(c) The final report by former Agent Peter Rozman, Agent Brian Futagaki, and/or any other
DOD IG or DCIS agent(s) or employees regarding Ms. Glines, and any attachments or
enclosures thereto. This document is likely dated in the range of October 2022 to January 2023.

(d) Information, emails, text messages, notations, or other documents in which the report
discussed in request (c), supra, was shared within the Navy, DCSA, DoD IG, or other
Government agencies. These documents would be dated from October 2022 to the present.

(e) The interview notes, impressions, conclusions, and documentation of all interviews
conducted in relation to the DOD and DCSA investigation of Ms. Glines. These email, text
messages, and documents would be dated in the range of December 2021 through January 2023.

(f) All DOD, DCSA, DOD IG and DCIS requests for opinions, guidance, advice, or direction
on the ethical matters pertaining to Ms. Glines. These documents would be dated from 2021 to
the present.

(g) All information pertaining to the security review of Ms. Glines stemming from the DOD IG
and DCIS investigation; including documentation of whether (and if so, how) DCSA, DOD IG,
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and DCIS staff informed any Navy action under procedural requirements of DODM 5200.02 and
other applicable laws and regulations, from December 2021 to the present.

       You requested electronic delivery to two email addresses. While our policy typically does
not permit two delivery methods, we provided this letter to both as a courtesy.

        You submitted your request to the DCSA Freedom of Information/Privacy (FOI/P) Office
for Investigations. Adjudication and clearance records are not maintained as part of Ms. Glines’
investigative file and are under the purview of the DCSA FOI/P Office for Adjudications. We
noticed that you had already sent a request to that office for their review and response to you.
You may refer to tracking number DCSA-M 24-02177 or to their website for additional
information: https://www.dcsa.mil/contact/foia/rar/.

       Our office, DCSA FOI/P Office for Investigations, conducts background investigations
for employment purposes. We only have purview of DCSA information and do not hold any
information pertinent to this specific request. Our records indicate we maintain historical
background investigations pertaining to Ms. Glines which fall prior to the specific timeframes
referenced within your request. If you wish to obtain this information, please submit a new
request to our office using our INV-100 form and reference this letter and the tracking number
below. You may refer to our website for the INV-100 form and for further information on
submitting a request: https://www.dcsa.mil/Contact-Us/Privacy-Civil-Liberties-FOIA/FOIA-
Requests/

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       U.S. National Archives and Records Administration       Phone: 202-741-5770
       Office of Government Information Services               Toll-Free: 1-877-684-6448
       8601 Adelphi Road - OGIS                                Fax: 202-741-5769
       College Park, MD 20740-6001                             Email: ogis@nara.gov

       If you have any questions regarding this response, contact the Freedom of Information
and Privacy office at 878-274-1185 and reference tracking number DCSA-B 24-02499.

                                                Sincerely,


                                                Melissa S. Igoe
                                                Government Information Specialist




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              EXHIBIT L
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From:           DCSA Ft Meade DCSA Mailbox Privacy Act
To:             "rsander@sandergroup.org"
Subject:        DCSA Records Request – Acknowledgement, DCSA-M 24-02177
Date:           Thursday, November 30, 2023 1:27:15 PM


Greetings,

This e-mail serves to acknowledge receipt of your request for records, per the Freedom of
Information Act and Privacy Act of 1974. Your request, on behalf of your client, Ms. Kristina
Glines, has been assigned tracking number DCSA-M 24-02177 and placed in our queue for
processing. We are required to respond to each request in the order in which it was received;
this ensures no request is shown favoritism or given priority above another. We appreciate the
opportunity to assist you in this matter.

Sincerely,

Freedom of Information and Privacy Office for Adjudications
Defense Counterintelligence and Security Agency
600 10th Street, Fort Meade, MD 20755-5131

Email: dcsa.meade.caf.mbx.privacy-act@mail.mil

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error, please notify the sender by reply e-mail and delete all copies of the message.
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                    L.R.    5.4 (f)




         5.4(f)                         L.R. 5.4(f)
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                                                                    Mary Anne Zivnuska <mzivnuska@sandergroup.org>



November 20, 2023 FOIA request
1 message

Mary Anne Zivnuska <mzivnuska@sandergroup.org>                                                 Thu, Feb 29, 2024 at 7:04 PM
To: dcsa.meade.dcsa.mbx.privacy-act@mail.mil
Cc: Robert Sander <rsander@sandergroup.org>

 On behalf of Ms. Kristina Glines, The Sander Group submitted a FOIA Request to the DCSA Office for Adjudications on
 November 20, 2023, attached. We have not received any confirmation of receipt for this request, nor have we received
 any tracking number for the request.

 While we acknowledge DOD's processing of these requests under a first-in, first-out policy as set forth in 32 CFR 286.8,
 under the Freedom of Information Act a response was due by December 21, 2023. See 5 U.S.C. 552 (a)(6)(A)(ii). Can
 you please let us know when your office will respond to the FOIA request?

 Although the response on the Request is already untimely, Ms. Glines is quickly approaching a point at which she will
 be denied her due process rights, as yesterday DCSA sent Ms. Glines a Statement of Reasons to which she intends to
 respond and desires to review and rely on the documents under request. Her due process rights in responding to the
 Statement of Reasons would be substantially prejudiced without access to the requested information. We certify the
 basis for this request to expedite the FOIA request to be true and correct. Please note that we now request expedited
 consideration of this Request pursuant to 32 CFR 286.8(e)(ii)(A).

 You may reach us by email at rsander@sandergroup.org or mzivnuska@sandergroup.org, or by phone at 703-459-0442.

 Sincerely,

 Mary Anne Zivnuska
 The Sander Group, PLLC
 https://www.sandergroup.org/

 ATTENTION - CONFIDENTIALITY NOTICE: This e-mail transmission (and/or the attachments accompany
 it) may contain confidential information which is protected by the attorney-client privilege, attorney work
 product, or other privilege. The information is intended only for the use of the intended recipient. If you are
 not the intended recipient, you are hereby notified that any disclosure, copying, distribution or the taking of
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 transmission in error, please promptly notify the sender by reply e-mail, and then destroy all copies of the
 transmission.

     Glines FOIA Request DCSA 11.20.23 (Final) (1).pdf
     277K
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             EXHIBIT O
              Case 1:24-cv-01222-TSC Document 1-10 Filed 04/25/24 Page 68 of 150


                                                                  Mary Anne Zivnuska <mzivnuska@sandergroup.org>



DCSA Records – Status Request, 24-02177
                                                                                                 Mon, Mar 11, 2024 at 9:31
DCSA Ft Meade DCSA Mailbox Privacy Act <dcsa.meade.dcsa.mbx.privacy-act@mail.mil>
                                                                                                                       AM
To: Mary Anne Zivnuska <mzivnuska@sandergroup.org>


 Greetings,



 Your request on behalf of Kristina A. Glines is in our queue, pending assignment to a processor. Due to an increase of
 incoming requests, our office is experiencing longer than normal processing times. Each incoming request is processed
 in the order in which we received it.



 We thank you for your patience while we work through our backlog.



 Sincerely,



 Freedom of Information and Privacy Office for Adjudications

 Defense Counterintelligence and Security Agency

 600 10th Street, Fort Meade, MD 20755-5131



 Email: dcsa.meade.caf.mbx.privacy-act@mail.mil



 The information herein is For Official Use Only (FOUO), which must be protected under the Privacy Act of
 1974, as amended. Unauthorized disclosure or misuse of this PERSONAL INFORMATION may result in
 criminal and/or civil penalties. If you received this message in error, please notify the sender by reply e-mail
 and delete all copies of the message.
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              EXHIBIT P
                  Case 1:24-cv-01222-TSC Document 1-10 Filed 04/25/24 Page 70 of 150


                                                                     Mary Anne Zivnuska <mzivnuska@sandergroup.org>



DCSA Records – Status Request, 24-02177
Mary Anne Zivnuska <mzivnuska@sandergroup.org>                                       Mon, Mar 11, 2024 at 10:59 AM
To: DCSA Ft Meade DCSA Mailbox Privacy Act <dcsa.meade.dcsa.mbx.privacy-act@mail.mil>, Robert Sander
<rsander@sandergroup.org>

 Dear Sir/Madam:

 Do you have an attorney assigned to advise the Freedom of Information and Privacy Office for Adjudications, and if so,
 may I have his or her contact information?

  I am not only concerned that DCSA apparently never docketed the November 20, 2023 FOIA request (for which a
 response is already overdue), but per 32 CFR 286.8, your office has a legal duty to respond to the request for expedited
 processing contained in our February 29, 2024 status request by no later than March 14, 2024, ten working days after
 the request to expedite contained in that status request, attached.

 Please confirm that your office is reviewing the request to expedite processing of Ms. Glines' request and plans to timely
 respond by March 14.

 r/
 Mary Anne Zivnuska
 [Quoted text hidden]
 [Quoted text hidden]


       November 20, 2023 FOIA request - mzivnuska@sandergroup.org - The Sander Group, PLLC Mail.pdf
       358K
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             EXHIBIT Q
               Case 1:24-cv-01222-TSC Document 1-10 Filed 04/25/24 Page 72 of 150


                                                                      Mary Anne Zivnuska <mzivnuska@sandergroup.org>



DCSA Records – Status Request, 24-02177
Powell, Fernanda I CIV DCSA DCSA (USA) <fernanda.i.powell.civ@mail.mil>                           Tue, Mar 19, 2024 at 9:34 AM
To: Mary Anne Zivnuska <mzivnuska@sandergroup.org>


 Greetings Ms. Zivnuska,



 Thank you for your email, on March 7, 2024 at 2:55 pm EST an email was sent to Ms. Cecilia Franceski, stating the new
 course for the case for Ms. Kristina A. Glines.



 The SOR request dated March 1, 2024 was received on March 7, 2024. We combined this request with the previous
 request dated November 2, 2023, Case # 24-02177 pertains.



 Ms. Glines Request has been re-classified as a SOR request, as result this will be in the priority category.



 The case is in the final stage for review.



 For any further questions please let us know.




 Sincerely,



 Freedom of Information and Privacy Office for Adjudications

 Defense Counterintelligence and Security Agency

 Fort George Meade, MD 20755

 Email: dcsa.meade.caf.mbx.privacy-act@mail.mil



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 Unauthorized disclosure or misuse of this PERSONAL INFORMATION may result in criminal and/or civil penalties. If you received
 this message in error, please notify the sender by reply e-mail and delete all copies of the message.
                 Case 1:24-cv-01222-TSC Document 1-10 Filed 04/25/24 Page 73 of 150

From: Mary Anne Zivnuska <mzivnuska@sandergroup.org>
Sent: Monday, March 11, 2024 11:59 AM
To: DCSA Ft Meade DCSA Mailbox Privacy Act <dcsa.meade.dcsa.mbx.privacy-act@mail.mil>; Robert Sander
<rsander@sandergroup.org>
Subject: Re: DCSA Records – Status Request, 24-02177



Dear Sir/Madam:

[Quoted text hidden]
[Quoted text hidden]
Case 1:24-cv-01222-TSC Document 1-10 Filed 04/25/24 Page 74 of 150




             EXHIBIT R
      Case 1:24-cv-01222-TSC Document 1-10 Filed 04/25/24 Page 75 of 150
                  DEFENSE COUNTERINTELLIGENCE AND SECURITY AGENCY
                     OFFICE OF PRIVACY, CIVIL LIBERTIES, AND FREEDOM OF INFORMATION
                                             BUILDING 601 10TH STREET
                                       FORT GEORGE G. MEADE, MD 20755-5615



                                                                                                                 March 20, 2024
                                                                                                               DCSA-M 24-02177



Mr. Rober J. Sander
The Sander Group
6618 Saint Mark Court
Alexandria, VA 22306

RE: Glines, Kristina A.

Dear Mr. Sander:

        This is in response to your Freedom of Information/Privacy Act (FOI/PA) request dated
November 2, 2023, and a request for a copy of the records pertaining to you, which the Defense
Counterintelligence and Security Agency Consolidated Adjudication Services (DCSA CAS)
relied upon in its preliminary decision to deny/revoke your security eligibility, pursuant to
DoDM 5200.02, dated March 11, 2024, on behalf of your client, Ms. Kristina A. Glines, wherein
you requested the following:
    • Video recording of DCIS interview dated October 12, 2022
    • All materials relating to the DOD IG and DCIS investigation of                          , Inc,
        to range from May 1, 2021 to January 1, 2023.
    • All documents, Information, opinions, guidance, advice, notes, records, recordings,
        interviews, emails, text messages, and conclusions relating to the DOD IG, DCIS, DCSA,
        DCIS and Navy investigations to range from December 2021 through present.
    • The final report by former Agent Peter Rozman, and Agent Brian Futagaki in the range of
        October 2022 to January 2023.

       The Defense Counterintelligence and Security Agency (DCSA) Freedom of Information
and Privacy Office for Adjudications received your first request, including Mr. Glines’ Power of
Attorney, on November 30, 2023, and the second request, on March 7, 2023. We conducted a
search of available records, to include the Defense Information System for Security (DISS) and
the Defense Central Index of Investigations (DCII) for records pertaining to Mr. Glines.

        Our search revealed the attached documents, which we are authorized to release to you.
We have withheld portions of the records under the provisions of the Privacy Act of 1974, Title 5
U.S.C. § 552(a), exemption (d)(5), and the Freedom of Information Act (FOIA), Title 5 U.S.C. §
552, exemptions (b)(5) and (b)(6). Privacy Act exemption (d)(5) protects disclosure of
information that is compiled in reasonable anticipation of civil action or proceedings, court
proceedings or quasi-judicial administrative hearings. FOIA exemption (b)(5) protects inter-and
intra-agency documents which are deliberative in nature, and part of the decision-making
process. We determined the information is also protected under the attorney work-product
privilege, and/or attorney-client privilege. Portions of the records contain privacy-related


                                                   PRIVACY ACT INFORMATION
       In compliance with the Privacy Act of 1974, this information is Personal Data and must be protected from public disclosure.
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information about a party other than your client. Thus, Ms. Glines is not entitled to third party
information under the provisions of the Privacy Act. This information is also withheld per the
Freedom of Information Act, Title 5 U.S.C. § 552, exemption (b)(6), as disclosure of the
information would constitute a clearly unwarranted invasion of the personal privacy of the
individual(s) involved.

        Records potentially responsive to your request, which fall under the release authority of
Chief Of Naval Operations (CNO), and the Inspector General Department Of Defense (DODIG),
were located. We do not have release authority for those records; thus, we are referring your
request and responsive records to their Privacy Offices, for action and direct response to you.
Potentially responsive background investigation records which fall under the release authority of
the DCSA FOI and Privacy Office for Investigations, were also located. We do not have release
authority for those records; however, since the DCSA FOI and Privacy Office for Investigations
has received your request (reference DCSA 24-05537), we will take no further referral action.

        Ms. Glines has the right to appeal this response by submitting a written request to the:
Defense Counterintelligence and Security Agency, ATTN: Office of General Counsel, 27130
Telegraph Road, Quantico, VA 22134-2253. Clearly mark the outside of the envelope and the
written appeal letter: “Privacy/FOIA Appeal.” DCSA must receive your appeal within ninety
(90) calendar days from the date of this letter. The written appeal letter should include the
reasons why DCSA should release the requested information and why this action may be in
error. Include with the appeal letter a copy of the original request and this response letter.
Please reference FOI/PA tracking number DCSA-M 24-02177 in all communication(s).

         Your client may seek dispute resolution services from the DCSA Public Liaison or the
Office of Government Information Services (OGIS). Your client may contact the DCSA Public
Liaison by emailing dcsa.quantico.dcsa-hq.mbx.foia@mail.mil. OGIS offers mediation services
to resolve disputes between FOIA requesters and federal agencies as a non-exclusive alternative
to litigation. Your client may contact OGIS in any of the following ways:

       U.S. National Archives and Records Administration                                        Phone: 202-741-5770
       Office of Government Information Services                                                Toll-Free: 1-877-684-6448
       8601 Adelphi Road – OGIS                                                                 Fax: 202-741-5769
       College Park, MD 20740-6001                                                              Email: ogis@nara.gov




                                                                   2
                                                   PRIVACY ACT INFORMATION
       In compliance with the Privacy Act of 1974, this information is Personal Data and must be protected from public disclosure.
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        No other records were located responsive to your request. We hope this information is
helpful and appreciate the opportunity to assist you in this matter.

                                                              Sincerely,



                                                              for/
                                                              Joy F. Greene
                                                              Supervisory, Government Information Specialist
                                                              FOI and Privacy Office for Adjudications

Attachments:
As stated




                                                                   3
                                                   PRIVACY ACT INFORMATION
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              DEFENSE COUNTERINTELLIGENCE AND SECURITY AGENCY
                                  BUI LDI NG 6 0 0 1 0 TH S TRE E T
                           FO RT G E O RG E G . ME ADE , MD 2 0 7 5 5 -5 6 1 5




CAS




                                                                                 November 16, 2023

MEMORANDUM FOR NIA SSO-1
                 (ATTN: SECURITY MANAGEMENT OFFICE)

SUBJECT: Supplemental Information Request Re: Kristina A. Glines,

References: (a) DoDM 5200.02, Procedures for the DoD Personnel Security Program (PSP)
                April 3, 2017
            (b) ICD 704, Personnel Security Standards and Procedures Governing Eligibility
                for Access to Sensitive Compartmented Information, and Other Controlled
                Access Program Information, October 1, 2008
            (c) Security Executive Agent Directive 4, National Security Adjudicative
                Guidelines, December 10, 2016 (Effective June 8, 2017)

1. Per the above references, the Defense Counterintelligence and Security Agency Consolidated
Adjudication Services’ (DCSA CAS) review of a Incident Report, December 09, 2022, disclosed
information that may have a bearing on his/her eligibility for access to classified information,
and/or assignment to duties that have been designated national security sensitive, and/or access
to Sensitive Compartmented Information (SCI).

2. DCSA CAS requests that you provide the Subject with the attached Memorandum and have
him/her complete the Acknowledgment of Receipt within thirty (30) calendar days of the receipt
of the notification, and return the form to the DCSA CAS. This information will need to be
provided to the DCSA CAS within thirty (30) calendar days from the date the Subject signs the
Acknowledgment of Receipt. Further, DCSA CAS requests that you advise the Subject that
failure to provide the requested information may result in an unfavorable eligibility
determination.

3. Please notify us if the Subject has transferred, been discharged, or is no longer associated
with your organization.




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4. If you have any questions, please contact the DCSA CAS Call Center at commercial (301)
833-3850 or DSN 733-3850 or send a message via the DISS Portal.



                                         Tonya Rodgers                 by tm

                                         Tonya Rodgers
                                         Division Chief
                                         DCSA CAS

Attachment:
Subject’s Memorandum (w/attachment)




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               DEFENSE COUNTERINTELLIGENCE AND SECURITY AGENCY
                                    BUI LDI NG 6 0 0 1 0 TH S TRE E T
                             FO RT G E O RG E G . ME ADE , MD 2 0 7 5 5 -5 6 1 5




CAS




                                                                                   November 16, 2023

MEMORANDUM FOR KRISTINA A. GLINES,

THROUGH: NIA SSO-1
           (ATTN: SECURITY MANAGEMENT OFFICE)

SUBJECT: Supplemental Information Request

References: (a) DoDM 5200.02, Procedures for the DoD Personnel Security Program (PSP)
                April 3, 2017
            (b) ICD 704, Personnel Security Standards and Procedures Governing Eligibility
                for Access to Sensitive Compartmented Information, and Other Controlled
                Access Program Information, October 1, 2008
            (c) Security Executive Agent Directive 4, National Security Adjudicative
                Guidelines, December 10, 2016 (Effective June 8, 2017)

1. The Defense Counterintelligence and Security Agency Consolidated Adjudication Services’
(DCSA CAS) review of a Incident Report, December 09, 2022, disclosed information that may
have a bearing on your eligibility for access to classified information, and /or assignment to
duties that have been designated national security sensitive, and/or access to Sensitive
Compartmented Information (SCI).

2. The following information is required in order for the DCSA CAS to make an eligibility
determination:

      Other Requested Info: A Defense Information System for Security (DISS) Incident Report,
      submitted by your Security Management Office, dated December 9, 2022, disclosed subject
      under investigation for improper use of her public position for private gain. The DoD CAS
      requests that you provide all details and official documentation and if any disciplinary
      actions has been taken. If subject has been discharged, please provide documentation or
      update personnel system.

3. DCSA CAS requests that you sign the attached Acknowledgement of Receipt form and
return the form to your Security Management Office (SMO) and/or SCI SMO within thirty (30)
calendar days from the date of this letter.

4. DCSA CAS requests you provide this information to your SMO and/or SCI SMO within
thirty (30) calendar days from the date you sign the Acknowledgment of Receipt. Further, you
are advised that if the information is not received within the specified time frame, an unfavorable
eligibility determination may be rendered.

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5. Please direct any questions regarding this memorandum to your SMO and/or SCI SMO.


                                        Tonya Rodgers                by tm

                                        Tonya Rodgers
                                        Division Chief
                                        DCSA CAS

Attachment:
1. Acknowledgment of Receipt




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       Acknowledgement of Receipt for Supplemental Information Request to Subject
                            Kristina A. Glines,

I acknowledge that I have been informed of the Defense Counterintelligence and Security
Agency Consolidated Adjudication Services (DCSA CAS) request for information to aid in the
determination of my eligibility for access to classified information, and/or assignment to duties
that have been designated national security sensitive, and/or access to Sensitive Compartmented
Information (SCI). I understand that failure to provide the information within the specified time
frame may result in an unfavorable eligibility determination.

I further understand that this form must be returned to my organization’s Security Management
Office (SMO) or Sensitive Compartmented Information (SCI) SMO within thirty (30) calendar
days.




NAME                                                                      DATE




ENTER ORGANIZATION’S SMO/SCI SMO INFORMATION




SMO/SCI SMO Contact (Print name & sign)




SMO/SCI SMO Contact (Official Job Title)




SMO/SCI SMO Contact (email address & phone number)



Date




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                                 OGC Referral Form
                 *Please save this form as a .doc/.docx before sending to Legal Office


   Date Submitted to OGC: January 9, 2024
   Subject’s Full Name: Kristina Ar. Glines
   Subject’s SSN:
   Subject’s Affiliation:

    ☐Military                         ☐Contractor/Industry
    ☐Civilian                         ☐ Other (Specify Below)

   Other affiliation (not listed):

                                        SIPRNet Document(s)?
                                        (b) (5), (d)(5)
                                                Expedite?
                                           ☐Yes        ☐No


                                     Bond Amendment applicable?

                                           ☐ Yes       ☐ No

                                      Bond Analysis applicable?
                                           ☐ Yes       ☐ No

   Reviewer’s Name:
   Reviewer’s Phone:
   Reviewer’s E-mail:
                          (b) (5), (d)(5)
   Preparing Adjudicator’s Name: (b) (6)




   Review Requested (Select ALL that apply):
(b) (5),                                        (b) (5),
(d)(5) SOR - Statement of Reasons               (d)(5)     Director's Interest Summary
     LOR - Letter of Revocation or LOD -                   Legal Question (Fill in Below)
     Letter of Denial
     Evaluation Request                                    Other Question (Fill in Below)


  List the documents that require a “legal sufficiency” review. (This list of documents must
  match the full names reflected in DISS):

                                                                                       Updated on: 20220617
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                                  OGC Referral Form
                 *Please save this form as a .doc/.docx before sending to Legal Office




List supportingdocument(s) that were relied upon when preparing the document
requiring review (This list of documents must match the full names reflected in DISS):



 (b) (5), (d)(5)

Additional Notes/Question(s):



 Additional Consultation:

(b) (5), (d)(5)
  Guidelines (Select ALL that apply)
(b)                         (b)                           (b) (5),
(5),   Allegiance to the US (5), Financial Considerations (d)(5) Handling Protected Information
(d)(5) Foreign Preference (d)(5) Alcohol Consumption               Outside Activities
      Foreign Influence                 Drug Involvement            Use of IT Systems
      Sexual Behavior                   Psychological Conditions
      Personal Conduct                  Criminal Conduct


*Additional Instructions: DO NOT upload or retain legal advice or comments in
                                       DISS.




  FOR OGC USE ONLY

  Assigned Attorney

 (b) (6)
                                                                                     Updated on: 20220617
                                               (Page 20 of 53)
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                         OGC Referral Form
           *Please save this form as a .doc/.docx before sending to Legal Office




(b) (6)
Date Returned:




                                                                               Updated on: 20220617
                                   (Page 21 of 53)
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        Executive Level Interest Case Summary Form
                    *Please save this form as a .doc/.docx before uploading into DISS



ELI SUBJECT CASE INFORMATION
Date of Initiation: January 9, 2024
Case ID: 44953892
Subject Name: Kristina A. Glines
Employment Category: Civilian
Affiliated Organization: NAVY INTELLIGENCE AGENCY
Grade/Rank: GS 15
Current Eligibility: SCI-ICD 704
Current Access: NONE
Referring Adjudicator/Supervisor: (b) (6)



EXECUTIVE SUMMARY:
Brief Paragraph of Major Concerns:
A Defense Criminal Investigative Service (DCIS) investigation of Kristina Glines has
determined culpability in regard to improper use of her public position for private gain.

List all Documentation and Correspondence to Review:


(b) (5), (d)(5)

BACKGROUND INVESTIGATION HISTORY:
SBPR 09/09/2010
PPR 02/05/2016



ADJUDICATION SUMMARY:
Summary:

(b) (5), (d)(5)

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              DEFENSE COUNTERINTELLIGENCE AND SECURITY AGENCY
                                  BUI LDI NG 6 0 0 1 0 TH S TRE E T
                           FO RT G E O RG E G . ME ADE , MD 2 0 7 5 5 -5 6 1 5




CAS


                                                                                 January 9, 2024

MEMORANDUM FOR NAVY INTELLIGENCE AGENCY
                 (ATTN: SECURITY MANAGEMENT OFFICE)

SUBJECT: Supplemental Information Request Re: MS. Kristina A. Glines,

References: (a) DoDM 5200.02, Procedures for the DoD Personnel Security Program (PSP)
                April 3, 2017
            (b) ICD 704, Personnel Security Standards and Procedures Governing Eligibility
                for Access to Sensitive Compartmented Information, and Other Controlled
                Access Program Information, October 1, 2008
            (c) Security Executive Agent Directive 4, National Security Adjudicative
                Guidelines, December 10, 2016 (Effective June 8, 2017)

1. Per the above references, the Defense Counterintelligence and Security Agency Consolidated
Adjudication Services’ (DCSA CAS) review of an Incident Report, December 7, 2022, disclosed
information that may have a bearing on his/her eligibility for access to classified information,
and/or assignment to duties that have been designated national security sensitive, and/or access
to Sensitive Compartmented Information (SCI).

2. The following information is required for the DCSA CAS to make an eligibility
determination:

       Other Requested Info: Received your response, please provide an update/final for the
DCIS investigation. Please provide any official documentation including additional actions that
has been taken to this point.

3. DCSA CAS requests that the attached “Acknowledgement of Receipt” be signed and return
the form to the DCSA CAS via the Defense Information System for Security (DISS) portal
within thirty (30) calendar days. After the receipt has been returned, please forwa rd the above
requested information to the DCSA CAS via the DISS portal within thirty (30) calendar days of
your acknowledgement of receipt. Further, please be advised that failure to provide the requested
information may result in an unfavorable eligibility determination based on existing information
being rendered on the Subject.

4. Please notify us if the Subject has transferred, been discharged, or is no longer associated
with your organization.




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5. If you have any questions, please contact the DCSA CAS Call Center at commercial (301)
833-3850 or DSN 733-3850 or send a message via the DISS Portal.




                                         Tonya Rodgers                 by tm

                                         Tonya Rodgers
                                         Division Chief
                                         DCSA CAS
Attachment:
Acknowledgment of Receipt




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    Acknowledgement of Receipt for Supplemental Information Request to Command
                        MS. Kristina Ar. Glines,

The SMO/SCI SMO acknowledges receipt for the Supplemental Information Request
Memorandum. This office understands the required information is due to the Defense
Counterintelligence and Security Agency Consolidated Adjudication Services (DCSA CAS)
within the next thirty (30) calendar days of this Receipt via the DISS portal. This office
understands that failure to provide the information within the specified time frame may result in
an unfavorable eligibility determination.

This office further understands that this form must be returned to the DCSA CAS within thirty
(30) calendar days.




SMO/SCI SMO Contact (Print name & sign)




SMO/SCI SMO Contact (Official Job Title)




SMO/SCI SMO Contact (email address & phone number)




Date




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                 DEFENSE COUNTERINTELLIGENCE AND SECURITY AGENCY
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CAS



                                                                                       January 24, 2024

MEMORANDUM FOR NAVAL INTELLIGENCE AGENCY SPECIAL SECURITY OFFICE
                 (ATTN: SECURITY MANAGEMENT OFFICE)

SUBJECT: Investigative File Request Re: Kristina A. Glines,

1. The Defense Counterintelligence and Security Agency Consolidated Adjudication Services
(DCSA CAS) has been provided a copy of subject’s investigation however DCSA CAS request
permission to use. DCSA CAS will use the information to determine Subject’s eligibility for
access to classified information.

          Name:                     KRISTINA A. GLINES
          SSN:
          DOB:                           1982
          Invest. Agency:           DEFENSE CRIMINAL INVESTIGATIVE SERVICE
          Invest. Type:             DCIS Report of Investigation
          Invest. Close Date:       October 26, 2022

2. The DCSA CAS requests authorization to utilize information contained in the investigative
file, to use in an unfavorable security clearance eligibility determination (if applicable).

3. If you have any questions, please contact DCSA CAS Call Center at commercial (677) 424-
3850 or DSN (b) (6)         or send a message via the DISS Portal



                                                Tonya Rodgers                         by tm

                                                Tonya Rodgers
                                                Division Chief
                                                DCSA CAS

                                                      Controlled by:CAS
                                                      CUI Category: PRVCY
                                                      Distribution/Dissemination Controls: FEDCON
                                                      POC: Tonya Rodgers, (b) (6)




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              DEFENSE COUNTERINTELLIGENCE AND SECURITY AGENCY
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CAS


                                                                                  February 27, 2024

MEMORANDUM FOR NAVAL INTELLIGENCE AGENCY SPECIAL SECURITY OFFICE
                 (ATTN: SECURITY MANAGEMENT OFFICE)

SUBJECT: Instructions for Handling Statement of Reasons Re: Ms. Kristina A. Glines,


References: (a) DoDM 5200.02, Procedures for the DoD Personnel Security Program (PSP)
                April 3, 2017
            (b) Security Executive Agent Directive 4, National Security Adjudicative
                Guidelines, December 10, 2016 (Effective June 8, 2017)
            (c) ICD 704, Personnel Security Standards and Procedures Governing Eligibility
                for Access to Sensitive Compartmented Information, and Other Controlled
                Access Program Information, October 1, 2008
            (d) ICPG 704.3, Denial or Revocation of Access to Sensitive Compartmented
                Information, Other Controlled Access Program Information, and Appeals
                Processes, October 2, 2008

1. After careful review of available pertinent information and in accordance with the references
above, the Defense Counterintelligence and Security Agency Consolidated Adjudication
Services (DCSA CAS) has made a preliminary decision to deny or revoke the Subject’s
eligibility for access to classified information, assignment to duties that have been designated
national security sensitive, and access to SCI. The DCSA CAS’ assessment of the applicable
security concerns for this preliminary decision is documented in the attached Statement of
Reasons (SOR) addressed to the Subject.

2. The purpose of this memorandum is to provide instructions for actions required by your
organization related to the Subject named in the attached SOR. Denial or revocation of eligibility
for access to classified information, duties that have been designated national security sensitive,
and SCI access can have a severe impact on Subjects and their careers. The procedures required
by the above references must be closely followed to ensure that all elements of security and
fairness are met.

3. The DCSA CAS was informed that the Subject’s access has been suspended.




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4. Please ensure the following actions, as appropriate, are accomplished within the specified
time frames:

   a. Promptly deliver the attached Statement of Reasons package to the Subject.

    b. Establish a point of contact for the Subject. Advise the Subject that he/she should not
attempt to communicate directly with DCSA CAS and all communication with DCSA CAS must
be forwarded through the Security Management Office (SMO) or SCI SMO.

    c. Complete and forward the Statement of Reasons Receipt and Statement of Intent to DCSA
CAS within ten (10) calendar days of the Subject's receipt of the SOR package. Ensure that the
Subject and your office properly complete the form. This form notifies DCSA CAS whether the
Subject intends to respond to the SOR. Should the subject refuse to complete the Statement of
Reasons Receipt and Statement of Intent, the SMO or SCI SMO will complete the form verifying
the date the package was delivered to the Subject and forward the completed form to DCSA CAS
within ten (10) calendar days of the subject’s refusal to sign. An additional witness is required to
sign the form to verify the SOR package was delivered to the Subject.

    d. Also, ensure the Subject understands that he/she may choose to obtain legal counsel, or
other assistance, in preparing a response to this preliminary decision. He/she may obtain civilian
counsel, at personal expense, or, if eligible, from the staff of the Judge Advocate General. Advise
the Subject that if he/she desires assistance from legal counsel that he/she should make those
arrangements immediately.

    e. Ensure that the Subject understands the consequences of being found ineligible for access
to classified information, assignment to duties that have been designated national security
sensitive, and SCI access, and the serious effect such a decision could have on his/her career.

   f. Take particular care to ensure that the Subject fully understands that the preliminary
denial or revocation decision will become final based on the available information if:

       - your organization notifies DCSA CAS via the Statement of Reasons Receipt and
         Statement of Intent that the Subject does not intend to respond to the SOR, or

       - the Subject reports that he/she will respond to the SOR and DCSA CAS receives no
         response within the specified time period.

Ensure the Subject understands that in either of these instances, the preliminary decision
will become a final determination on the merits of the available information.




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    g. If the Subject chooses to respond to the SOR, inform him/her they have sixty (60)
calendar days from the date of their acknowledgment on Attachment 2, Statement of Reason
Receipt and Statement of Intent, of his/her memorandum, to submit the response in writing
through the SMO or SCI SMO. Ensure the Subject understands that requests for an extension
beyond the established suspense date must be submitted in writing through the SMO or the SCI
SMO prior to the SOR response due date and approved by DCSA CAS. Exceptions to this policy
may only be circumstances where the Subject’s failure to respond to the SOR was due to factors
beyond his or her control.

   h. Assist the Subject in obtaining the applicable references and copies of pertinent
investigative files. The SOR is based on information obtained from investigative agencies and/or
other sources. If the Subject desires copies of releasable information pertinent to this SOR,
advise him/her to follow the instructions in Attachment 3 of his/her memorandum.

    i. Advise the Subject that written comments from personal references may be included as
part of the response to the SOR. Such written comments may include observations regarding the
Subject's judgment, reliability, and trustworthiness. Personal references may comment on the
pending eligibility decision if knowledgeable of the security issues identified in the SOR.
Whether or not comments from personal references are included, the Subject's response to the
SOR must be received in your office by the suspense date.

   j. Ensure the response to the SOR is promptly endorsed by the appropriate authority, with a
copy to the Subject, and immediately forwarded to DCSA CAS.

5. Deployment/TDY. It is in the best interest of national security that this notice to the Subject
be delivered as soon as possible. It is understood, however, that deployment or other operational
circumstances may make it difficult for the Subject to provide an adequate response. If the
Subject is currently deployed or other operational circumstances prevent your organization from
initiating this due process action, immediately notify DCSA CAS in writing. Be sure to provide
your SMO or SCI SMO contact information to DCSA CAS and keep us apprised of the Subject’s
status. Upon the Subject’s return from deployment, or the end of the operational circumstance,
your office should deliver the SOR immediately and forward the signed Statement of Reasons
Receipt and Statement of Intent to DCSA CAS as soon as possible.

6. If you have any questions, please contact the DCSA CAS Call Center at commercial (301)
833-3850 or DSN 733-3850 or send a message via the DISS Portal.


                                             Tonya Rodgers                    by rj

                                             Tonya Rodgers
                                             Division Chief
                                             DCSA CAS

Attachment:
Subject’s Memorandum (w/attachments)


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               DEFENSE COUNTERINTELLIGENCE AND SECURITY AGENCY
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CAS



                                                                                   February 27, 2024

MEMORANDUM FOR MS. KRISTINA A. GLINES,

THROUGH: NAVAL INTELLIGENCE AGENCY SPECIAL SECURITY OFFICE
           (ATTN: SECURITY MANAGEMENT OFFICE)

SUBJECT: Intent to Revoke Eligibility for Access to Classified Information, Assignment to
         Duties that have been Designated National Security Sensitive, and Access to
         Sensitive Compartmented Information (SCI)

References: (a) DoDM 5200.02, Procedures for the DoD Personnel Security Program (PSP),
                April 3, 2017
            (b) Security Executive Agent Directive 4, National Security Adjudicative
                Guidelines, December 10, 2016 (Effective June 8, 2017)
            (c) ICD 704, Personnel Security Standards and Procedures Governing Eligibility
                for Access to Sensitive Compartmented Information, and Other Controlled
                Access Program Information, October 1, 2008
            (d) ICPG 704.3, Denial or Revocation of Access to Sensitive Compartmented
                Information, Other Controlled Access Program Information, and Appeals
                Processes, October 2, 2008

1. Per the above references, a preliminary decision has been made by the Defense
Counterintelligence and Security Agency Consolidated Adjudication Services (DCSA CAS) to
revoke your eligibility for access to classified information, assignment to duties that have been
designated national security sensitive, and access to Sensitive Compartmented Information
(SCI).

2. A decision on eligibility for access to classified information, assignment to duties that have
been designated national security sensitive, and SCI access is a discretionary security decision
based on judgments by appropriately trained adjudicative personnel. Pursuant to reference (a),
eligibility shall be granted only where facts and circumstances indicate eligibility for access to
classified information is clearly consistent with the national security interests of the United
States, and any doubt shall be resolved in favor of the national security. Information concerning
your personal history has led to the security concern(s) listed in Attachment 1, Statement of
Reasons (SOR), which prevent DCSA CAS from making the affirmative decision that your
eligibility is clearly consistent with the interests of national security. If this preliminary decision
becomes final, you will not be eligible for access to classified information, assignment to duties
that have been designated national security sensitive, and SCI access as defined by the above-
cited references.
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3. Your access to classified information was suspended by your organization.

4. You must complete Attachment 2, Statement of Reasons Receipt and Statement of Intent, and
forward it to the DCSA CAS, via your organization’s Security Management Office (SMO) or
SCI SMO within ten (10) calendar days of receipt of this memorandum. Contact your SMO or
SCI SMO for help in preparing and forwarding this form. If the completed Attachment 2 is not
received at DCSA CAS, it will be presumed that you do not intend to submit a reply.

5. You may request the records upon which DCSA CAS relied on to make the preliminary
decision. Attachment 3 is provided to assist you in requesting your records. Use the DCSA
investigation request if your SOR is based upon a DCSA Investigation (formerly known as the
Office of Personnel Management (OPM) investigation). Use the appropriate records request
form(s) provided herein, if your SOR is based upon records other than, or in addition to, the
DCSA investigation. Failure to request the record(s) in a timely manner, failure to provide an
accurate mailing address, and/or failure to accept receipt of the record(s) upon delivery, will not
serve as justification for an extension of time to respond to the SOR.

6. You may challenge this preliminary decision by responding, in writing, with any information
or explanation that you think should be considered in reaching a final decision. Attachment 4,
Instructions for Responding to a Statement of Reasons, provides instructions to assist you if you
choose to submit a response. Attachment 5, National Security Adjudicative Guidelines, provides
information on the guidelines and Attachment 6, Applicable National Security Adjudicative
Guidelines, provides the specific national security adjudicative guideline(s) from reference (b)
used in this preliminary decision.

7. You may choose to obtain legal counsel, or other assistance, in preparing your response to
this preliminary decision. You may obtain civilian counsel, at your own expense, or, if you are
eligible, from the staff of the Judge Advocate General. If you desire assistance from legal
counsel, you should make those arrangements immediately.

8. If you choose the option to respond, your written response must be submitted through your
SMO or SCI SMO within sixty (60) calendar days from the date you acknowledge receipt of this
memorandum. Your SMO or SCI SMO will then forward it to the DCSA CAS. To request an
extension, you must provide a written request, with justification, to your SMO or SCI SMO prior
to the current deadline. Your SMO or SCI SMO will then submit your request to the DCSA CAS
for review/approval. Any request for extension of time to respond may be granted only by the
DCSA CAS.




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9. If you choose the option not to respond or if you chose to respond but your response is not
received by your SMO or SCI SMO within the specified time, this preliminary decision will
become a final security determination on the merits of the information available. Please direct
questions regarding this memorandum to your SMO or SCI SMO.


                                           Tonya Rodgers                    by rj

                                           Tonya Rodgers
                                           Division Chief
                                           DCSA CAS

Attachments:
1. Statement of Reasons
2. Statement of Reasons Receipt and Statement of Intent
3. Form(s) for Requesting Records
4. Instructions for Responding to a SOR
5. National Security Adjudicative Guidelines
6. Applicable National Security Adjudicative Guidelines




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  STATEMENT OF REASONS (SOR) FOR MS. KRISTINA A. GLINES,

The information listed below was derived from the documents listed at the end of this attachment
(Attachment 1, Statement of Reasons). Each item of disqualifying information falls under one or
more of the security guidelines listed below.

GUIDELINE E: Personal Conduct
Available information shows issues of Personal Conduct on your part.

Conduct involving questionable judgment, lack of candor, dishonesty, or unwillingness to
comply with rules and regulations can raise questions about an individual’s reliability,
trustworthiness, and ability to protect classified or sensitive information. Of special interest is
any failure to cooperate or provide truthful and candid answers during national security
investigative or adjudicative processes.
Per the Adjudicative Guidelines, conditions that could raise a security concern and may be
disqualifying include:
The Department of Defense Inspector General, Defense Criminal Investigative Service (DCIS)
opened an investigation on May 30, 2019, after a referral from the Deputy Director of Security,
Department of Defense Special Access Program (SAP), regarding questionable SAP accesses for
                     , Incorporated. Your spouse founded                        Incorporated in
2013 and is the President and Chief Executive Officer. The referral also included the allegation
that you used your official U.S. Government position as Director of Security, Department of The
Navy Special Programs Office/Department of the Navy Special Access Program Central Office
(SAPCO) (N9SP), Pentagon, Washington, D.C. to benefit your financial position, potentially
amounting to a conflict of interest.
As an employee of the executive branch of the U.S. government, you have an obligation to abide
by 5 C.F.R. § 2635 - Standards of Ethical Conduct for Employees of the Executive Branch. The
basic obligation of public service is that it is a public trust. The general principles apply to every
employee. These principles include, but are not limited to, the following:
    1. Employees shall not hold financial interests that conflict with the conscientious
       performance of duty;
    2. Employees shall act impartially and not give preferential treatment to any private
       organization or individual;
    3. Employees shall endeavor to avoid any actions creating the appearance that they are
       violating the law, or the ethical standards set forth in this part. Whether particular
       circumstances create an appearance that the law or these standards have been violated
       shall be determined from the perspective of a reasonable person with knowledge of the
       relevant facts.
On October 12, 2022, during an interview with DCIS Special Agents, you admitted that you used
your official position to help your husband and his company,                          . Furthermore,
the report revealed that you failed to recuse yourself from matters in which you had a personal
financial interest/conflict of interest and failed to seek guidance or report all perceived or actual
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conflicts of interest to your supervisor and/or Department of Navy (DoN) attorneys. You
acknowledged that you had received ethics training throughout your DoN career and knew you
had an obligation to seek guidance, report your conflicts, and recuse yourself in matters
involving your spouse’s company. You acknowledged that you did not do this for every conflict
involving                       .
The DCIS report disclosed that on August 20, 2020, an employee of
committed a security violation while assigned to the Defense Advanced Research Projects
Agency (DARPA), Adaptive Capabilities Office (ACO), Arlington, Virginia. At this time, you
were on leave, and in your absence, the Deputy Director of Security assumed your duties as the
Acting Director of Security and led the effort to suspend the                      employee’s
DoN SAP access. On October 19, 2020, you returned from leave and resumed your role as
Director; however, the Deputy Director continued to work on the                      employee
SAP suspension. On November 12, 2020, the Deputy Director forwarded an email chain to you
regarding the employee’s suspension decision. You responded, “I need to recuse myself from
this specific case. This [Systems Engineering and Technical Assistance] SETA works for my
husband’s company. I don’t want any decision to appear bias [sic].” You remained involved
even after acknowledging your conflict. You questioned DARPA’s decision to suspend the
employee’s SAP accesses; however, you were aware that if you did not suspend the employee’s
DoN SAP accesses, it would look like “favoritism.” You also admitted to sharing information
about the employee’s SAP suspension with your spouse as it was being adjudicated. You did not
believe this was wrong or inappropriate. You stated that you would have shared this type of
information with other corporate leaders who requested information about their employee in the
same situation. Nonetheless, you stated that you should not have participated in this matter,
should have recused yourself, and notified your supervisor of your conflict.
According to the DCIS investigative report, you admitted to requesting DoD SAPCO Joint
Access Database Enterprise (JADE) accounts for your spouse and other
employees while acting in your official capacity as the Director of Security. On January 17,
2019, you electronically approved and submitted a request to DoD SAPCO for the creation of a
JADE account for your spouse. You told the investigator that you did not believe your actions
were inappropriate but would never do it again.
As part of the DCIS investigation, DCIS agents obtained and reviewed your U.S. Navy
unclassified and CNET classified e-mails. According to the report, your e-mails showed that as
early as 2015, you misused your position, failed to separate personal and business relationships,
and disregarded your obligation to abide by the ethical standards expected of a government
employee.
For instance, on September 1, 2015, you requested that the Senior Security Manager check on
the status of your spouse’s Program Access Request (PAR). In a September 16, 2015, e-mail
exchange between you and your spouse regarding his PAR status, you told your spouse his PAR
was at N89. Your spouse said to you, “Fyi I think this constitutes direction from a government
superior.” In response, you wrote, “Lol…I can’t call and expedite PARs for my family :-).”


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DCIS interviewed an employee copied on the e-mail exchange. He described his relationship
with you as predominately personal in nature and your spouse as a friend and work colleague. He
explained that he and your spouse typically would not have reached out to you for assistance in
getting this type of access request moving; however, he stated they were trying to “move
bureaucracy along.” The employee further explained that the usual process for getting a PAR
through the system involved routing the request through the OPNAV Special Programs Division
(N89). The employee stated this process was inefficient so on occasion, he and your spouse
would go to you to try to expedite the paperwork. The employee added that in the position he
held at that time, he was able to facilitate the submission of PARS but was not involved in
processing the PARS. Hence, he required your assistance.
According to the DCIS report, in April 2016, you assisted your spouse using your official
position. Your spouse asked you to check if                         had a Facility Clearance (FCL),
and if you could not check, if you would find someone who could. You were asked how many
times you executed database checks using U.S. government computer systems for your spouse.
You acknowledged executing database checks for your spouse but did not provide a specific
number of instances. You reported accessing U.S. government computer systems to find out your
spouse’s security clearance access date. You acknowledged that the                             FSO
could do this as part of his industrial security duties. You rationalized running database checks
for your spouse as something you would do for other companies and personnel. As such, you did
not believe you were doing anything wrong, nor were you doing a favor for your spouse. In
retrospect, you acknowledged you should not have conducted these checks.
On October 12, 2022, your supervisor suspended you from work and suspended your access to
SAPs.
According to the DCIS report, you misused your position, failed to separate personal and
business relationships, and disregarded your obligation to abide by the ethical standards expected
of a government employee. The investigation found that you were involved with the SAP access
determination of your spouse’s employee, even after you acknowledged your conflict; you used
your official position to expedite the approval process for your spouse’s PAR, and you ran
database checks using U.S. Government computer systems for your spouse, which you
acknowledge you should not have due to your personal relationship. You admitted during your
DCIS interview that you used your official position to help your husband and his company. The
report revealed that you failed to recuse yourself from matters in which you had a personal
financial interest and failed to seek guidance or report all perceived or actual conflicts of interest
to your supervisor or DoN attorneys. DCIS found that your financial interests conflicted with the
conscientious performance of your duties; you failed to act impartially and gave preferential
treatment to a private entity. Your behavior reflects questionable judgment and an unwillingness
to comply with rules and regulations, which raises questions about your reliability,
trustworthiness, and ability to protect classified or sensitive information. Therefore, your
personal conduct is a security concern. (Guideline E, Attachmen t 6)




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                               List of Pertinent Documents

Defense Information System for Security, Incident Report, December 7, 2022

Department of Defense Inspector General, Defense Criminal Investigative Service, Report of
Investigation, #2019002173-80SI-B0/F, October 26, 2022




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               Statement of Reasons Receipt and Statement of Intent (Subject)

I, Ms. Kristina A. Glines,                acknowledge that I have received the Statement of
Reasons (SOR) notifying me of the Defense Counterintelligence and Security Agency
Consolidated Adjudication Services’ preliminary decision to revoke my eligibility for access to
classified information, assignment to duties that have been designated national security sensitive,
and access to Sensitive Compartmented Information (SCI). I understand that this form must be
returned to my organization’s Security Management Office (SMO) or SCI SMO within ten (10)
calendar days.


I will (select one):


☐ NOT submit a reply to the SOR. I understand that by making this choice, this preliminary
    decision will become a final determination based on the merits of the available information.


☐ Submit a response via my organization’s SMO or SCI SMO within sixty (60) calendar days
    of the date I acknowledged receipt of the SOR. I understand that if my response is not
    received by the SMO or SCI SMO within the sixty (60) calendar days, or later date as
    provided in a valid extension of time, this preliminary decision will become a final
    determination based on the merits of the available information.




                        (Signature)                                         (Date)




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               Statement of Reasons Receipt and Statement of Intent (SMO)
                            Ms. Kristina A. Glines,

            TO BE COMPLETED BY THE ORGANIZATION’S SMO or SCI SMO


This organization verifies the Statement of Reasons (SOR) package was delivered to Subject on
                                     _____/______/_____.


The following action(s) will be taken (Select all that apply):

☐ Subject declared his/her intent NOT to sign the SOR Receipt and Statement of Intent form.

☐ Subject elected NOT to submit a reply to the SOR

☐ Subject will respond to the SOR.

     ☐     The organization has not granted an extension to the subject.

     ☐    The organization has granted an extension until _____/______/_____ (not to exceed
           60 days from the date of receipt of the SOR)




Organization’s SMO/SCI SMO (Print & Sign Name)                                (Date)




Witness (Print & Sign Name) (Required if Subject refuses to sign form)        (Date)




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»
                              REQUEST for RECORDS
                                       DCSA – Investigations
 Please EXPEDITE to assist in responding to a DCSA CAS Statement of Reasons (SOR).

Defense Counterintelligence and Security Agency (DCSA)
Attn: FOI/PA Office for Investigations
P.O. Box 618; 1137 Branchton Road
Boyers, PA 16018-0618

Email: dcsa.boyers.dcsa.mbx.inv-foip@mail.mil

To request a copy of DCSA investigation records (formerly known as NBIB-OPM), complete this
form and provide copies of two (2) identity source documents, to the DCSA Boyers FOI/PA
office. You may submit your request via mail to the address above, or submit via e-mail to the e-
mail address above using scanned attachments.
    •     Visit the DCSA FOI/PA Office for Investigations website (“Completed Investigations” tab)
          to view a list of acceptable forms of identity source documents at:
          https:/www.dcsa.mil/mc/pv/mbi/mr/


    •     If submitting via e-mail, you should ensure that the security of your e-mail system is
          adequate for transmitting your sensitive personally identifiable information (PII) before
          choosing to transmit your request.
Description of Records Being Sought: I request a copy of records pertaining to me, specified
below, which are maintained by the DCSA. These documents are needed to assist in responding
to a Statement of Reasons (SOR) issued by DCSA CAS.

Requested Records:
List the Investigation Case # provided via DCSA CAS SOR Pertinent Documents page.

    OPM or DCSA Case #:

    OPM or DCSA Case #:

My Identifying Information:

        Full Name:

        Date of Birth:                         Place of Birth:

        Full Social Security Number:
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Please send the requested records to me via (select one):

(   ) Hardcopy Mail (physical address required):




(   ) E-Mail (e-mail address required):



    “I declare under penalty of perjury under the laws of the United States of America that the
    foregoing information [concerning my identity] is true and correct.”




               Handwritten Signature (required)                             Date




Privacy Act Advisement: Requesting personal information which includes your Social
Security Number is authorized by 5 USC Sec. 552a (Privacy Act of 1974). Information
provided herein is used to identify and retrieve records pertaining to you. Providing all or
part of the information is voluntary; however, without it, the above agency may not be
able to identify your records. This information may be retained and/or released to other
agencies under Routine Use.

Authority: E.O. 12968, Access to Classified Information, and the Department of
Defense (DoD) Manual 5200.02, Procedures for the DoD Personnel Security Program.




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                           REQUEST for RECORDS
                 DCSA – Consolidated Adjudication Services
To request a copy of your employing agency/military command personnel security records;
your medical records; continuous evaluation incident reports and credit reports obtained
by Vetting Risk Operations (VRO), and/or DCSA CAS, please complete this form and mail
to:

Defense Counterintelligence and Security Agency (DCSA)
Attn: FOI/PA Office for Adjudications
600 10th Street
Fort George G. Meade, MD 20755-5131

Encrypted Email Only: dcsa.meade.caf.mbx.privacy-act@mail.mil

Note: To encrypt to this email address using your CAC card, please select the “DCSA Ft Meade CAF
Mailbox Privacy Act” email address from the Global Address List (GAL), rather than the local default
list.

Privacy Act Advisement: Requesting personal information which includes your Social Security
Number is authorized by 5 USC Sec. 552a (Privacy Act of 1974). Information provided herein is
used to identify and retrieve records pertaining to you. Providing all or part of the information
below is voluntary; however, without it, the DCSA CAS may not be able to identify your
records. This information may be retained and/or released to other agencies under Routine Use.

Authority: E.O. 12968, Access to Classified Information; Department of Defense (DoD) Manual
5200.02, Procedures for the DoD Personnel Security Program, April 3, 2017.

Description of Records: Under the provisions of the Privacy Act, and to respond to a Statement
of Reasons (SOR) issued by DCSA CAS, I hereby request a copy of record(s) pertaining to me,
which DCSA CAS relied upon in its preliminary decision to deny/revoke my security eligibility.

Required Personally Identifiable Information is provided as follows:
Social Security Number:
Full Name:
Other Names Used:
Date of Birth:                         Place of Birth:



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Please mail my file to (physical mailing address):




E-mail address:



“I declare under penalty of perjury under the laws of the United States of America that the
foregoing information [concerning my identity] is true and correct.”




Handwritten or CAC eSignature (required)                  Date (required)




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                          REQUEST for RECORDS
DoD IG FOIA Requester Service Center
Attn: FOIA/PA Chief, Suite 17F18
4800 Mark Center Drive
Alexandria, VA 22350-1500

To request a copy of pertinent records from the above named agency, please provide a photocopy
of your picture ID, along with this completed form and mail to the above address.

Privacy Act Advisement: Requesting personal information which includes your Social Security
Number is authorized by 5 USC Sec. 552a (Privacy Act of 1974). Information provided herein is
used to identify and retrieve records pertaining to you. Providing all or part of the information
below is voluntary; however, without it, the above agency may not be able to identify your
records. This information may be retained and/or released to other agencies under Routine Use.

Authority: E.O. 12968, Access to Classified Information; Department of Defense (DoD) Manual
5200.02, Procedures for the DoD Personnel Security Program (PSP), April 3, 2017.

Description of Records: Under the provisions of the Privacy Act, and to respond to a Statement
of Reasons (SOR) issued by theDefense Counterintelligence and Security Agency Consolidated
Adjudication Services
I hereby request a copy of the following records (fill in pertinent records description below):



Identifying information is provided as follows:
Social Security Number:
Full Name:
Other Names Used:
Date of Birth:                       Place of Birth:
Please mail my file to (physical address required):




Government e-mail address (.mil or .gov):

“I declare under penalty of perjury under the laws of the United States of America that the
foregoing information [concerning my identity] is true and correct.”


Handwritten or CAC eSignature (required)                           Date


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                   Instructions for Responding to a Statement of Reasons

1. The Statement of Reasons (SOR) is based on unfavorable information revealed in
investigation(s) into your personal history, and/or received through other means, such as your
organization’s security office. Specific security concerns about your conduct or background are
listed in the SOR.
2. These instructions are intended to help you provide the most accurate and relevant
information as to why the preliminary decision should be reversed. However, it is only a guide.
You should provide whatever information you wish to be considered by DCSA CAS in reaching
a final decision.
3. If you decide to challenge the preliminary decision, you should address each area of security
concern listed in the SOR as completely as possible. It is in your best interest to provide a timely
response, including complete and accurate information with pertinent details and supporting
documentation.
   a. Preparing your response
           (1) The SOR package and these instructions provide specific requirements and
deadlines for compliance. You should carefully read the SOR to determine if the findings are
accurate and whether there are circumstances that were not included which might have a
favorable bearing in your case.
          (2) On the Statement of Reasons Receipt and Statement of Intent attached to the SOR,
you must notify the DCSA CAS, via your organization’s Security Management Office (SMO)
and/or Sensitive Compartmented Information (SCI) SMO, within ten (10) calendar days as to
whether you intend to respond. If you choose to respond, your response must be submitted to
your SMO and/or SCI SMO within thirty (30) calendar days from the date you received the SOR
unless you requested and were granted an extension of time.
             (3) If you choose to respond, you should gather any documentation that supports your
case. Your response and supporting documentation should be organized in the same order as the
security concerns presented in the SOR. The documents that have the most impact w ill be those
that refute, correct, explain, extenuate, mitigate, or update the unfavorable information presented
in the SOR. Examples of documentation include: copies of court records with details or
dispositions of arrests and status of probation; transcripts of court testimony taken under oath;
probation reports; copies of negotiated plea bargains; releases from judgment or wage
attachment; statements of account or letters from creditors verifying the status of delinquent
accounts; receipts or copies of canceled checks for payment on debts; certificates of completion
for alcohol/drug abuse rehabilitation programs; etc. Mere statements such as “I didn't do it,” “It
wasn't my fault,” or “I paid those bills” will not carry as much weight as supporting
documentation. You may provide statements from co-workers, supervisors, your commander,
friends, neighbors, and others concerning your judgment, reliability and trustworthiness, and any
other information that you think should be considered before a final decision is made.




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            (4) Seek assistance from your local security office on this matter. By separate
memorandum, your SMO has been requested to provide any assistance you need in
understanding this process. If they cannot answer your questions, they can request assistance
from higher authority. The process is designed so Subjects can represent themselves. You may
obtain legal counsel or other assistance in preparing your response; however, if you obtain
private assistance, it must be obtained at your own expense. Remember it is up to you to decide
whether to respond or not. You are responsible for the substance of your response, and it must be
signed by you.
   b. Writing your response
           (1) Your response should be submitted in writing, via your SMO and/or Sensitive
Compartmented Information (SCI) SMO, to DCSA CAS. It must be submitted before the
expiration of the response deadline. You should address each item cited in the SOR separately.
You should also admit or deny each item in the SOR and provide an explanation for each
response.
            (2) Attach all supporting documentation, to include any available documentation that
explains, refutes, corrects, extenuates, mitigates, or updates each item cited in the SOR. Organize
supporting documents in the order that they are cited in your response and enclose copies with
your response. You may use dividers or tabs to help you assemble the supporting documentation
in order.
            (3) The impact of your response will depend on the extent to which you can
specifically refute, correct, extenuate, mitigate, or update security concerns cited in the SOR. If
you believe that the unfavorable information in the SOR presents an incomplete pictur e of the
situation or circumstances, you should provide information that explains your case. Bear in mind
that the information you provide will be considered, but it also may be verified through
additional investigation.
            (4) The National Security Adjudicative Guideline(s) pertinent to security concerns in
your case are listed in Attachment 5. The guideline(s) provide a framework for weighing all
available information, both favorable and unfavorable that is of security concern. The
Guideline(s) aid in making a common-sense decision based upon all that is known about a
Subject's personal history.
           (5) When you have completed your written response, ensure you sign and date it.
Place your response and supporting documents in a single envelope or package and forward to
DCSA CAS, via your organization’s SMO and/or SCI SMO. Be sure to meet the time deadline
for submission. When a final decision is made, you will be notified in writing, via your
organization’s SMO and/or SCI SMO. If the decision is favorable, your access eligibility will be
granted or restored. If not, you may appeal the decision to higher authority.




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          NATIONAL SECURITY ADJUDICATIVE GUIDELINES
FOR DETERMINING ELIGIBILITY FOR ACCESS TO CLASSIFIED INFORMATION
          OR ELIGIBILITY TO HOLD A SENSITIVE POSITION


1. Introduction.

   (a) The following National Security Adjudicative Guidelines (“guidelines”) are established as
the single common criteria for all U.S. Government civilian and military personnel, consultants,
contractors, licensees, certificate holders or grantees and their employees, and other individuals
who require initial or continued eligibility for access to classified information or eligibility to
hold a sensitive position, to include access to sensitive compartmented information, restricted
data, and controlled or special access program information (hereafter referred to as “national
security eligibility”). These guidelines shall be used by all Executive Branch Agencies when
rendering any final national security eligibility determination.

   (b) National security eligibility determinations take into account a person’s stability,
trustworthiness, reliability, discretion, character, honesty, and judgment. Individuals must be
unquestionably loyal to the United States. No amount of oversight or se curity procedures can
replace the self-discipline and integrity of an individual entrusted to protect the nation’s secrets
or occupying a sensitive position. When a person’s life history shows evidence of unreliability or
untrustworthiness, questions arise as to whether the individual can be relied upon and trusted to
exercise the responsibility necessary for working in an environment where protecting the
national security is paramount.

   (c) The U.S. Government does not discriminate on the basis of race, color, religion, sex,
national origin, disability, or sexual orientation in making a national security eligibility
determination. No negative inference concerning eligibility under these g uidelines may be raised
solely on the basis of mental health counseling. No adverse action concerning these guidelines
may be taken solely on the basis of polygraph examination technical calls in the absence of
adjudicatively significant information.

   (d) In accordance with EO 12968, as amended, eligibility for covered individuals shall be
granted only when facts and circumstances indicate that eligibility is clearly consistent with the
national security interests of the United States, and any doubt sha ll be resolved in favor of
national security.

2. The Adjudicative Process.

   (a) The adjudicative process is an examination of a sufficient period and careful weighing of a
number of variables of an individual’s life to make an affirmative determination that the
individual is an acceptable security risk. This is known as the whole -person concept. All
available, reliable information about the person, past and present, favorable, and unfavorable,
should be considered in reaching a national security eligibility determination.
   (b) Each case must be judged on its own merits, and the final determination remains the
responsibility of the authorized adjudicative agency. Any doubt concerning personnel being
considered for national security eligibility will be resolved in favor of the national security.

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   (c) The ultimate determination of whether the granting or continuing of national security
eligibility is clearly consistent with the interests of national security must be an overall common
sense judgment based upon careful consideration of the following g uidelines, each of which is to
be evaluated in the context of the whole person.

      (1) GUIDELINE A: Allegiance to the United States
      (2) GUIDELINE B: Foreign Influence
      (3) GUIDELINE C: Foreign Preference
      (4) GUIDELINE D: Sexual Behavior
      (5) GUIDELINE E: Personal Conduct
      (6) GUIDELINE F: Financial Considerations
      (7) GUIDELINE G: Alcohol Consumption
      (8) GUIDELINE H: Drug Involvement and Substance Misuse
      (9) GUIDELINE I: Psychological Conditions
     (10) GUIDELINE J: Criminal Conduct
     (11) GUIDELINE K: Handling Protected Information
     (12) GUIDELINE L: Outside Activities
     (13) GUIDELINE M: Use of Information Technology

   (d) In evaluating the relevance of an individual’s conduct, the adjudicator should consider the
following factors:

      (1) the nature, extent, and seriousness of the conduct;
      (2) the circumstances surrounding the conduct, to include knowledgeable participation;
      (3) the frequency and recency of the conduct;
      (4) the individual’s age and maturity at the time of the conduct;
      (5) the extent to which participation is voluntary;
      (6) the presence or absence of rehabilitation and other permanent behavioral changes;
      (7) the motivation of the conduct;
      (8) the potential for pressure, coercion, exploitation, or duress; and
      (9) the likelihood of continuation or recurrence.

   (e) Although adverse information concerning a single criterion may not be sufficient for an
unfavorable eligibility determination, the individual may be found ineligible if available
information reflects a recent or recurring pattern of questionable judgme nt, irresponsibility, or
unstable behavior. However, a single criterion may be sufficient to make an unfavorable
eligibility determination even in the absence of a recent occurrence or a recurring pattern.
Notwithstanding the whole-person concept, pursuit of further investigation may be terminated by
an appropriate adjudicative agency in the face of reliable, significant, disqualifying, adverse
information.




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   (f) When information of security concern becomes known about an individual who is
currently eligible for access to classified information or eligible to hold a sensitive position, the
adjudicator should consider whether the individual:

      (1) voluntarily reported the information;
      (2) was truthful and complete in responding to questions;
      (3) sought assistance and followed professional guidance, where appropriate;
      (4) resolved or appears likely to favorably resolve the security concern;
      (5) has demonstrated positive changes in behavior; and
      (6) should have his or her national security eligibility suspended pending final
adjudication of the information.

    (g) If after evaluating information of security concern, the adjudicator decides the information
is serious enough to warrant a recommendation of denial or revocation of the national security
eligibility, but the specific risk to national security can be managed with appropriate mitigation
measures, an adjudicator may recommend approval to grant initial or continued eligibility for
access to classified information or to hold a sensitive position with an exception as defined in
Appendix C [of Security Executive Agent Directive 4, National Security Adjudicative
Guidelines, signed December 10, 2016, effective June 8, 2017].

   (h) If after evaluating information of security concern, the adjudicator decides that the
information is not serious enough to warrant a recommendation of denial or revocation of the
national security eligibility, an adjudicator may recommend approval with a warning that future
incidents of a similar nature or other incidents of adjudicative concern may result in revocation
of national security eligibility.

   (i) It must be noted that the adjudicative process is predicated upon individuals providing
relevant information pertaining to their background and character for use in investigating and
adjudicating their national security eligibility. Any incident of intentional material falsification or
purposeful non-cooperation with security processing is of significant concern. Such conduct
raises questions about an individual’s judgment, reliability, and trustworthiness and may be
predictive of their willingness or ability to protect national security.




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                    Applicable National Security Adjudicative Guidelines
The relevant national security adjudicative guidelines as published in the Security Executive
Agent Directive 4, National Security Adjudicative Guidelines, December 10, 2016 (Effective
June 8, 2017) for each area of security concern are attached. Please be aware that each Guideline
criteria may not be applicable to your case.


GUIDELINE E: PERSONAL CONDUCT

The Concern. Conduct involving questionable judgment, lack of candor, dishonesty, or
unwillingness to comply with rules and regulations can raise questions about an individual's
reliability, trustworthiness, and ability to protect classified or sensitive information. Of specia l
interest is any failure to cooperate or provide truthful and candid answers during national
security investigative or adjudicative processes. The following will normally result in an
unfavorable national security eligibility determination, security clearance action, or cancellation
of further processing for national security eligibility:

 (a) refusal, or failure without reasonable cause, to undergo or cooperate with security
     processing, including but not limited to meeting with a security investigator for subject
     interview, completing security forms or releases, cooperation with medical or
     psychological evaluation, or polygraph examination, if authorized and required; and
 (b) refusal to provide full, frank, and truthful answers to lawful questions of investigators,
     security officials, or other official representatives in connection with a personnel security or
     trustworthiness determination.

Conditions that could raise a security concern and may be disqualifying include:
 (a) deliberate omission, concealment, or falsification of relevant facts from any personnel
     security questionnaire, personal history statement, or similar form used to conduct
     investigations, determine employment qualifications, award benefits or status, determine
     national security eligibility or trustworthiness, or award fiduciary responsibilities;
 (b) deliberately providing false or misleading information; or concealing or omitting
     information, concerning relevant facts to an employer, investigator, security official,
     competent medical or mental health professional involved in making a recommendation
     relevant to a national security eligibility determination, or other official government
     representative;
 (c) credible adverse information in several adjudicative issue areas that is not sufficient for an
     adverse determination under any other single guideline, but which, when considered as a
     whole, supports a whole-person assessment of questionable judgment, untrustworthiness,
     unreliability, lack of candor, unwillingness to comply with rules and regulations, or other
     characteristics indicating that the individual may not properly safeguard classified or
     sensitive information;




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 (d) credible adverse information that is not explicitly covered under any other guideline and
     may not be sufficient by itself for an adverse determination, but which, when combined
     with all available information, supports a whole-person assessment of questionable
     judgment, untrustworthiness, unreliability, lack of candor, unwillingness to comply with
     rules and regulations, or other characteristics indicating that the individual may not
     properly safeguard classified or sensitive information. This includes, but is not limited to,
     consideration of:
       (1) untrustworthy or unreliable behavior to include breach of client confidentiality,
           release of proprietary information, unauthorized release of sensitive corporate or
           government protected information;
       (2) any disruptive, violent, or other inappropriate behavior;
       (3) a pattern of dishonesty or rule violations; and
       (4) evidence of significant misuse of Government or other employer's time or resources;
 (e) personal conduct, or concealment of information about one's conduct, that creates a
     vulnerability to exploitation, manipulation, or duress by a foreign intelligence entity or
     other individual or group. Such conduct includes:
       (1) engaging in activities which, if known, could affect the person's personal,
           professional, or community standing;
       (2) while in another country, engaging in any activity that is illegal in that country; and
       (3) while in another country, engaging in any activity that, while legal there, is illegal in
           the United States;
 (f) violation of a written or recorded commitment made by the individual to the employer as a
     condition of employment; and
 (g) association with persons involved in criminal activity.

Conditions that could mitigate security concerns include:
 (a) the individual made prompt, good-faith efforts to correct the omission, concealment, or
     falsification before being confronted with the facts;
 (b) the refusal or failure to cooperate, omission, or concealment was caused or significantly
     contributed to by advice of legal counsel or of a person with professional responsibilities
     for advising or instructing the individual specifically concerning security processes. Upon
     being made aware of the requirement to cooperate or provide the information, the
     individual cooperated fully and truthfully;
 (c) the offense is so minor, or so much time has passed, or the behavior is so infrequent, or it
     happened under such unique circumstances that it is unlikely to recur and does not cast
     doubt on the individual's reliability, trustworthiness, or good judgment;
 (d) the individual has acknowledged the behavior and obtained counseling to change the
     behavior or taken other positive steps to alleviate the stressors, circumstances, or factors
     that contributed to untrustworthy, unreliable, or other inappropriate behavior, and such
     behavior is unlikely to recur;
 (e) the individual has taken positive steps to reduce or eliminate vulnerability to exploitation,
     manipulation, or duress;
 (f) the information was unsubstantiated or from a source of questionable reliability; and
 (g) association with persons involved in criminal activities was unwitting, has ceased, or
     occurs under circumstances that do not cast doubt upon the individual's reliability,
     trustworthiness, judgment, or willingness to comply with rules and regulations.



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              EXHIBIT S
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                                                                               March 22, 2024

Defense Counterintelligence and Security Agency
ATTN: Office of General Counsel,
27130 Telegraph Road
Quantico, VA 22134-2253


Re:         Appeal of FOIA DCSA-M 24-02177

Dear DCSA FOIA Appellate Authority,

We are in receipt of the DCSA FOIA response for DCSA-M 24-02177. It purports to be both a
response to a November 2, 2023 FOIA request and the March 11 request to expedite the review
of materials DCSA relied upon in issuing its preliminary decision to revoke Ms. Glines’ security
eligibility. The dates cited in the response are incorrect: the FOIA request was dated November
20, 2023, and the SOR Records request and request to expedite was submitted on March 1, 2024
and confirmed received by DCSA on March 7, 2024.
In its response, DCSA stated that it looked for the following materials:
          Video recording of DCIS interview dated October 12, 2022
           All materials relating to the DOD IG and DCIS investigation of Blue Sky Innovators,
           Inc, to range from May 1, 2021 to January 1, 2023.
          All documents, Information, opinions, guidance, advice, notes, records, recordings,
           interviews, emails, text messages, and conclusions relating to the DOD IG, DCIS, DCSA,
           DCIS and Navy investigations to range from December 2021 through present.
           The final report by former Agent Peter Rozman, and Agent Brian Futagaki in the range
           of October 2022 to January 2023.

See DCSA Response for DCSA-M 24-02177, dated March 20, 2024. This bulleted list does not
accurately reflect the FOIA request DCSA-M 24-02177. The second bullet, reprinted above,
incorrectly truncated our responsive date range from April 1, 2021 to January 1, 2023 to May 1,
2021 to January 2023. Further, the third bullet point contains two errors: first, it does not
mention that the request included documents, information, opinions, guidance, advice, notes,
records, recordings, interviews, emails, text messages, and conclusions relating to “the
6618 Saint Marks Court; Alexandria, VA 22306; (703) 459-0442; www.sandergroup.org
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investigation of Ms. Glines.” This error—which leaves the subject of the investigation out of the
search-- likely leads to an overly-broad search with few, if any, documents responsive to the
actual request. Second, this bullet point is also incorrectly truncated. The actual request sought
documents beginning in May 2019, but the bullet point discussed in the response truncated the
search to a date range beginning in December 2021, 19 months shorter than the requested search
period. The bulleted list, even giving allowance for its errors, does not encompass all the
materials requested, and we have concerns that DCSA did not perform a search, much less a
complete and full search, for the full range of materials requested under the November 20, 2023
FOIA request. The November 20, 2023 FOIA request also requested the following items:
       (d) Information, emails, text messages, notations, or other documents in which the
       report discussed in [the final Rozman/Futagaki report], was shared within the
       Navy, DCSA, DoD IG, or other Government agencies. These documents would be
       dated from October 2022 to the present.
       (e) The interview notes, impressions, conclusions, and documentation of all
       interviews conducted in relation to the DOD and DCSA investigation of Ms.
       Glines. These email, text messages, and documents would be dated in the range of
       December 2021 through January 2023.
       (f) All DOD, DCSA, DOD IG and DCIS requests for opinions, guidance, advice,
       or direction on the ethical matters pertaining to Ms. Glines. These documents
       would be dated from 2021 to the present.
       (g) All information pertaining to the security review of Ms. Glines stemming from
       the DOD IG and DCIS investigation; including documentation of whether (and if
       so, how) DCSA, DOD IG, and DCIS staff informed any Navy action under
       procedural requirements of DODM 5200.02 and other applicable laws and
       regulations, from December 2021 to the present.
Given that no emails, text messages, or notes\ were received, it seems unlikely that this was a full
search for responsive materials. This conclusion is bolstered by the fact that the response
contains only a handful of documents which Ms. Glines does not already possess, and those
documents were heavily redacted. We request that DCSA perform a full search for all requested
materials, and tell us which databases and/or document repositories it searched in coming to
these results.
Further, an additional Request for Records was submitted in addition to the FOIA Request—and
sought records which the “DCSA CAS relied upon in its preliminary decision to deny/revoke
[Ms. Glines’] security eligibility.” We are disappointed that DCSA has forced us into the FOIA
paradigm to request records Ms. Glines requires in order to defend herself in an administrative
proceeding. This administrative proceeding is tantamount to litigation before an agency. By
invoking the FOIA exemption (b)(5), the DCSA CAS attempts to deny Ms. Glines, the aggrieved
party, the ability to overcome an assertion of privilege and exercise her Due Process rights under
statutes and regulations. Importantly, the opportunity to prove need and overcome qualified
privileges would be otherwise available to parties in litigation who are not forced into the FOIA
paradigm. Thus, by treating this administrative proceeding Records Request as a FOIA request,
the DCSA CAS is depriving Ms. Glines of documents and information that are both relevant and


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necessary in the administrative proceeding. Please see the DOJ FOIA Manual for the official
position of the United States-
          It is important to bear in mind a difference between the application of privileges
          in civil discovery and in the FOIA context. In the former, the use of qualified
          privileges may be overcome by a showing of relevance or need by an opposing
          party. In the FOIA context, however, the Supreme Court has held that the standard
          to be employed is whether the documents would "routinely be disclosed" in civil
          litigation. By definition, documents for which a party would have to make a
          showing of need are not routinely disclosed and thus do not fall into this category.
          As a result, in the FOIA context there is no difference between qualified and
          absolute privileges, and courts do not take into account a party's need for the
          documents in ruling on a privilege's applicability. 1
The intent of Exemption 5 is to prevent the FOIA from being used to backdoor normal discovery
rules, not to deny access to materials otherwise accessible to those who need them in order for
justice to function. By shoe-horning SOR discovery under the FOIA, DCSA is denying Ms.
Glines material to which she is otherwise entitled. Despite the DCSA response to the SOR
request, Ms. Glines still has none of the substantive materials upon which the DCSA CAS
preliminary decision relies, and which is specifically requested in the form SOR request, which
DCSA itself generated.
Indeed, DOD Manual 5200.02, Paragraph 10.2, is titled “MINIMUM DUE PROCESS
REQUIREMENTS APPLICABLE TO ALL,” and instructs that any individual facing an
unfavorable national security eligibility determination is entitled to “[r]equest the documents,
records, and reports upon which the unfavorable national security determination was made.”
DOD policy on due process requirements mirrors the requirements of Executive Order 12986. 2
None of those rights are abrogated by FOIA Exemptions.3 DOD Policy is consistent with Ms.
Glines’ Due Process Rights under the U.S. Constitution, Federal Law, and Executive Order. We
are hereby appealing the denial, and referral to other agencies (as opposed to submitting the
materials under DOD policy and federal law), complete copies of any and all documents relating
to the SOR, including but not limited to our request for:
         any continuous evaluation incident reports pertaining to Ms. Glines,
         Any OPNAV personnel security records pertaining to Ms. Glines; and
         Those materials listed under “List of Pertinent Documents” and which the CAS relied
          upon in their decision making:


1
  Exemption 5 (justice.gov), at numbered page 358.
2
  Executive Order 12986, section 5.2(a)(3) states that individuals have the right to “request any documents,
records, and reports as described in section 5.2(a)(2) upon which a denial or revocation is based; and to
request the entire investigative file, as permitted by national security and other applicable law, which, if
requested, shall be promptly provided prior to the time set for a written reply”.
3
  The only justification provided in the Manual for not providing the entire file supporting the eligibility
determination is where a “DoD Component head or principal deputy personally certifies that a procedure in
this section cannot be made available in a particular case without damaging the national security interests of
the United States by revealing classified information. See DODM 5200.02 paragraph 10.2(h). This is a high
standard; absent a Certification from a DOD Component head or principal deputy alleging a national security
concern with release of the requested materials, we should have received full copies of the subject files.

                                                       3
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           o Defense Information System for Security, Incident Report, December 7, 2022;
             and
           o Department of Defense Inspector General, Defense Criminal Investigative
             Service, Report of Investigation, #2019002173-80SI-B0/F, October 26, 2022.


 Consistent with our documented compelling need for these materials on an expedited basis for
the original FOIA request under 32 CFR 286.8(e)(ii)(A) and the EO 12986 requirement that the
materials we requested be “promptly provided,” we continue to request these documents on an
expedited basis due to the need to respond to the SOR. Please provide these documents in their
entirety and in an unredacted format.
Finally, for any documents denied or redacted under FOIA, we respectfully request a Vaughn
Index and Privilege Log so we can evaluate whether the parties might be able to resolve this
matter without involving a Federal Court.
                                     Respectfully,




                                     Robert J. Sander, Partner
                                     The Sander Group, PLLC
                                     6618 St. Marks Court
                                     Alexandria, VA 22306
                                     (703) 459-0442
                                     rsander@sandergroup.org


cc: Ms. Kristina Glines




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              EXHIBIT T
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              EXHIBIT U
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                              OFFICE OF INSPECTOR GENERAL
                                     DEPARTMENT OF DEFENSE
                                     4800 MARK CENTER DRIVE
                                  ALEXANDRIA, VIRGINIA 22350-1500




                                                                            November 30, 2023
                                                                     Ref: DODOIG-2024-000119

SENT VIA EMAIL TO: rsander@sandergroup.org
Mr. Robert Sander
The Sander Group, PLLC
6618 Saint Marks Court
Alexandria, VA 22306

Dear Mr. Sander:

       This responds to your Freedom of Information Act (FOIA) request, as enclosed. We
received your request on November 20, 2023, and assigned it case number DODOIG-2024-
000119.

        For your information, Congress excluded three discrete categories of law enforcement
and national security records from the requirements of the FOIA. See 5 U.S.C. 552(c) (2006 &
Supp. IV 2010). This response is limited to those records that are subject to the requirements of
the FOIA. This is a standard notification given to all our requesters and should not be taken as
an indication that excluded records do, or do not, exist.

        Please be advised that any documents that may be responsive to your request are
compiled for a law enforcement inquiry and release, at this time, could reasonably be expected to
interfere with the inquiry. As such, 5 U.S.C. § 552 exemption (b)(7)(A) of the FOIA provides
for withholding records or information compiled under these circumstances, as law enforcement
inquiries are not limited to criminal actions but include civil actions and regulatory proceedings
as well. For this reason, we cannot release any responsive documents at this time. Once the
inquiry is complete however, exemption (b)(7)(A) may no longer apply, and you may re-submit
your request. Please note that, even after the inquiry is completed, responsive records may still
be exempt from disclosure based on one or more FOIA exemptions.

       If you consider this an adverse determination, you may submit an appeal. Your appeal, if
any, must be postmarked within 90 days of the date of this letter, clearly identify the
determination that you would like to appeal, and reference to the FOIA case number above.
Send your appeal via mail to the Department of Defense, Office of Inspector General, ATTN:
FOIA Appellate Authority, Suite 10B24, 4800 Mark Center Drive, Alexandria, VA 22350-1500,
via email to foiaappeals@dodig.mil, or via facsimile to 571-372-7498. However, please note
that FOIA appeals can only examine adverse determinations concerning the FOIA process. For
more information on appellate matters and administrative appeal procedures, please refer to 32
C.F.R. Sec. 286.9(e) and 286.11(a).

        You may contact our FOIA Public Liaison at FOIAPublicLiaison@dodig.mil, or by
calling 703-604-9785, for any further assistance with your request. Additionally, you may
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                                                                           November 30, 2023
                                                                    Ref: DODOIG-2024-000119

contact the Office of Government Information Services (OGIS) at the National Archives and
Records Administration to inquire about the FOIA mediation services they offer. The contact
information for OGIS is as follows: Office of Government Information Services, National
Archives and Records Administration, 8601 Adelphi Road-OGIS, College Park, MD 20740-
6001, email at ogis@nara.gov; telephone at 202-741-5770; toll free at 1-877-684-6448; or
facsimile at 202-741-5769. However, OGIS does not have the authority to mediate requests
made under the Privacy Act of 1974 (request to access one’s own records).

       If you have any questions regarding this matter, please contact our office at 703-604-
9775 or via email at foiarequests@dodig.mil.

                                             Sincerely,



                                             Searle Slutzkin
                                             Division Chief
                                              FOIA, Privacy and Civil Liberties Office

Enclosure(s):
As stated




                                                2
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                                    The Sander Group
                                  6618 Saint Mark Court
                                  Alexandria, VA 22306
                                      (703) 459-0442

                                       November 20, 2023


Department of Defense (DOD) Office of the Inspector General (IG)
Attn: DOD IG FOIA Coordinator
foiarequests@dodig.mil
(Submitted Via Email Only)

Dear FOIA Coordinator:

This is a request under the Freedom of Information Act (5 U.S.C. 552).

On behalf of Ms. Kristina Glines and as her counsel of record, I request that a copy of the
following document(s) be provided to me:

   (a) All materials relating to the DOD IG and DCIS investigation of                      , Inc,
   also known as “        These documents would likely be dated in the range of 5/1/2021 to
   1/1/2023.

   (b) All documents, notes, records, recordings, interviews, emails, text messages, and
   conclusions relating to the DOD IG and DCIS investigation of Ms. Glines, whether they be
   generated by DOD, DCIS, or by the Navy. These documents are expected to range from
   December 2021 through January 2023.

   (c) The final report by former Agent Peter Rozman, Agent Brian Futagaki, and/or any other
   DOD IG or DCIS agent(s) or employees regarding Ms. Glines, and any attachments or
   enclosures thereto. This document is likely dated in the range of October 2022 to January
   2023.

   (d) Information, emails, text messages, notations, or other documents in which the report
   discussed in request (c), supra, was shared within the Navy, DoD IG, or other Government
   agencies. These documents would be dated from October 2022 to the present.

   (e) The interview notes, impressions, conclusions, and documentation of all interviews
   conducted in relation to the DCSA investigation of Ms. Glines. These email, text messages,
   and documents would be dated in the range of December 2021 through January 2023.

   (f) All DOD IG and DCIS requests for opinions, guidance, advice, or direction on the ethical
   matters pertaining to Ms. Glines. These documents would be dated from 2021 to the present.
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   (g) All information pertaining to the security review of Ms. Glines stemming from the DOD
   IG and DCIS investigation; including documentation of whether (and if so, how) DOD IG and
   DCIS staff informed any Navy action under procedural requirements of DODM 5200.02 and
   other applicable laws and regulations, from December 2021 to the present.

In order to help you determine my status for the purpose of assessing fees, you should know that
Ms. Glines is an individual seeking information for her personal use and not for a commercial
use.

I request a waiver of fees for this request because disclosure of the requested information is in
the public interest. This information is likely to contribute significantly to public understanding
of the procedural requirements applicable to operations or activities of the DoD and is not
primarily in her commercial interest. These documents will contribute to an understanding of
how the DOD and the Navy processes security clearance access and eligibility determinations,
including the appropriate processing of these matters pursuant to DODM 5200.02.

This process is otherwise hidden from public view under an inappropriate understanding of the
Supreme Court’s Egan doctrine, with the hiding of such materials creating the impression that
the Navy uses Egan as a shield against review of potentially inappropriate security actions.
Egan’s stated purpose is to protect against judicial review of the substance of the security action,
which is properly reserved to the Executive Branch. Ms. Glines is aggrieved by an improper
application of Egan by the Navy and a failure to follow DoD and Navy procedures. The
information on the full process under DODM 5200.02 and its practical application will be
disseminated through the public court system to allow any individual similarly aggrieved to have
their cases addressed according to whether the Navy followed proper procedural protocols. An
understanding of those procedural protocols will allow individuals to fully adjudicate complaints
of improper process in security matters.

I have also included a telephone number at which I can be contacted if necessary to discuss any
aspect of my request.

                                      Sincerely,




                                      Robert J. Sander
                                      6618 Saint Mark Court
                                      Alexandria, VA 22306
                                      (703) 459-0442
                                      rsander@sandergroup.org

       cc: Ms. Kristina Glines
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              EXHIBIT V
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                               THE SANDER GROUP, PLLC
                                6618 SAINT MARK COURT
                                 ALEXANDRIA, VA 22306
                                      (703) 459-0442

                                      December 20, 2023


Department of Defense, Office of Inspector General
ATTN: FOIA Appellate Authority
Suite 10B24, 4800 Mark Center Drive
Alexandria, VA 22350-1500
(Via email only to foiaappeals@dodig.mil)


Re: Appeal of FOIA Denial DODOIG-2024-000119
Dear FOIA Appellate Authority,
         On behalf of Kristina Glines, The Sander Group, PLLC (“The Sander Group”) sent The
Department of Defense Office of Inspector General (“DODIG”) a Freedom of Information Act
(“FOIA”) Request on November 20, 2023. This FOIA Request was received the same day, and
DODIG assigned it case number DODOIG-2024-000119 (Attached as Exhibit 1). On November
30, 2023, FOIA, Privacy and Civil Liberties Office Division Chief Searle Sluzkin sent a form
letter denying this FOIA Request (Attached as Exhibit 2). In their FOIA Request Denial and
Response, the DODIG failed to even conduct a records search or review of the records under the
unfounded assumption that the records sought might be excluded from the FOIA under 5 U.S.C.
§ 552(c). This denial is surprising, given the DODIG’s obligation under the FOIA to make
records available unless certain criteria are met, see 5 U.S.C. § 552. Based on the DODIG’s
Response, it appears as though the DODIG did not even attempt to determine whether such
criteria applied to the individual documents requested, as apparently, no search for materials,
much less a review of such records, was even conducted.

        On November 30, 2023, DODIG sent a standard notification, which DCIS appears to
send when responsive documents may have been compiled for law enforcement purposes in
anticipation of the possibility that the records may be covered by sections (b)(7)(A) and/or
(c). DODIG claims that this letter is not a determination that the records are indeed exempt from
FOIA under those sections, but advises that we can treat the letter as a negative determination--
hence, the "final response" name given to its email response. Importantly, DODIG did not
advise that it was performing any search whatsoever, and there is no assertion that they even
conducted a records search or review. Additionally, the FOIA Office’s Response gives the
negative implication that it does not intend to even begin its perfunctory obligations under the
FOIA absent an appeal. This stance demonstrates a legal interpretation that reads DODIG’s
FOIA obligations out of the statute and improperly shifts the burden to requestors to justify the
request before DODIG undertakes its own statutory obligations. We are thus compelled to use
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the FOIA appeal process not to make an appeal of a reasoned determination, but rather, to
convince DODIG to take a first look at the materials.

        Please consider this letter our appeal of the DODIG’s refusal to search for the requested
materials and review the documents. We believe that neither 5 U.S.C. §552(b)(7)(A) nor the
“rarely applicable” 5 U.S.C. §552(c) (see Shapiro v. United States DOJ, 153 F. Supp 3d 253, 271
(D.D.C. 2016)) apply to exclude the search or production of records sought.

I.     The Requested Records.

        Exhibit 1, FOIA request DODOIG-2024-000119, articulates which records The Sander
Group requested. Ms. Glines has an interest in all of the requested records, of most interest are
the records requested as follows:

       (b) All documents, notes, records, recordings, interviews, emails, text messages,
       and conclusions relating to the DOD IG and DCIS investigation of Ms. Glines,
       whether they be generated by DOD, DCIS, or by the Navy. These documents are
       expected to range from December 2021 through January 2023.

       (c) The final report by former Agent Peter Rozman, Agent Brian Futagaki, and/or
       any other DOD IG or DCIS agent(s) or employees regarding Ms. Glines, and any
       attachments or enclosures thereto. This document is likely dated in the range of
       October 2022 to January 2023.

        Based upon a November 10, 2022 Memorandum from Director of the Department of the
Navy Special Programs (available upon request), the investigation into Ms. Glines was closed at
very latest by November 10, 2022. Requests (d) through (g) all stem from the investigation into
Ms. Glines and should pre-date the completion of Agent Rozman’s report. See Exh. 1.

       We have reason to believe that the investigation into BSI (see Exh.1, request (a)) is also
complete. The final response to the FOIA request suggests that if investigation is not completed,
we can re-submit the request once completed. DODIG should have at a minimum done their due
diligence and determined this status before denying the request. We also understand that Agent
Rozman, who retired almost a year ago, told the Navy that DCIS “would not be bringing
criminal charges.”

II.    5 U.S.C. § 552(b)(7)(A) Does Not Apply to the Requested Records.

       Exhibit 2, DODIG’s denial of the FOIA request, claims that records which:

       may be responsive to your request are compiled for a law enforcement inquiry
       and release, at this time, could reasonably be expected to interfere with the
       inquiry. As such, 5 U.S.C. § 552 exemption (b)(7)(A) of the FOIA provides for
       withholding records or information compiled under these circumstances, as law
       enforcement inquiries are not limited to criminal actions but include civil actions
       and regulatory proceedings as well. For this reason, we cannot release any
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        responsive documents at this time. Once the inquiry is complete however,
        exemption (b)(7)(A) may no longer apply, and you may re-submit your request.
        Please note that, even after the inquiry is completed, responsive records may still
        be exempt from disclosure based on one or more FOIA exemptions.

Exemption (b)(7)(A) includes:

        [r]ecords or information compiled for law enforcement purposes, but only to the
        extent that the production of such law enforcement records or information (A)
        could reasonably be expected to interfere with enforcement proceedings.
        (emphasis added).

        DCIS investigated a question of whether Ms. Glines used her public position for private
gain. In the November 10, 2022 memorandum, Mr. Brian T. Howes, the Director of the
Department of the Navy Special Programs Central Office (DON SAPCO) claims that the
investigation is “closed and culpability established.” This suggests that enforcement
proceedings on the matter, if any, were completed over a year ago. In the same time frame,
DCIS reported to Navy that it “would not be bringing criminal charges.” Although (b)(7)(A)
need not only apply to criminal enforcement proceedings, DCIS does not handle non-criminal
matters; the implication in this statement is that there will be no enforcement proceedings arising
out of the subject investigation. Despite different conclusions, both sources suggest that any
enforcement proceedings potentially affected by the report requested in request (c), are not an
issue, and as such, the report should be released. Further, the documents in requests (b) and (d)
through (g) arise out of that investigation and should also be released.

        Based upon the Government’s own records and despite all reasonable conclusions in the
Government’s favor, this material should not be withheld under exemption (b)(7)(A), and the
exemption should certainly not be read to nullify the entirety of the request. It is undisputed that
FOIA’s ‘“limited exemptions do not obscure the basic policy that disclosure, not secrecy, is the
dominant objective of the Act.’ Accordingly, these exemptions ‘must be narrowly construed.’”
John Doe Agency v. John Doe Corp., 493 US 146, 152 (1989), citing Dept. of Air Force v.
Rose, 425 U.S. 352, 361 (1976). There is no reasonable way that exemption b(7)(A) can be seen
to control the request such as to foreclose disclosure, much less the full disclosure claimed in the
FOIA Request Denial.

III.    5 U.S.C. § 552(c) Does Not Apply to the Requested Records.

        The FOIA Request Denial does not comply with the FOIA by declining to search for
records based on the possibility that the records might be excluded from the FOIA under 5
U.S.C. § 552(c). This provision allows agencies, “under unusual circumstances,” to treat
responsive materials as if they were exempt from FOIA’s application. Shapiro, 153 F. Supp. 3d
at 256 (D. D.C. 2016). “The Section 552(c) exclusions are rarely applicable in principle and are
even more rarely applied in practice. In the words of the Justice Department's own guide to
FOIA, the exclusions are ‘a novel mechanism for protecting certain especially sensitive law
enforcement matters,’ and are employed only in ‘exceptional circumstances.’” Id. at 271-272,
citing U.S. Dep't of Justice, Guide to the Freedom of Information Act: Exclusions 1 (last updated
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Mar. 5, 2014). There are three subsections to 5 U.S.C. § 552(c), which we address in succession.
A cursory review of the materials would have demonstrated that 5 U.S.C. § 552(c) does not
apply to the requested records.

a.     5 U.S.C. § 552(c)(1) depends on successful application of criteria which do not apply
to these records.

5 U.S.C. § 552(c)(1) reads as follows:
       (1) Whenever a request is made which involves access to records described in
       subsection (b)(7)(A) and—
              (A) the investigation or proceeding involves a possible violation of
              criminal law; and
              (B) there is reason to believe that (i) the subject of the investigation or
              proceeding is not aware of its pendency, and (ii) disclosure of the
              existence of the records could reasonably be expected to interfere with
              enforcement proceedings,
       the agency may, during only such time as that circumstance continues, treat the
       records as not subject to the requirements of this section.
       5 U.S.C. § 552(c)(1) (emphasis added.)

        Section 552(c)(1) requires that the investigation involve a possible violation of criminal
law. We have documents showing that DCIS Agent Rozman informed the Navy in October 2022
that DCIS determined there is no violation of criminal law. Further, in order to apply the
exemption, the subject of the investigation must not be aware of its pendency. Ms. Glines, the
subject of the investigation, is not only aware of its pendency, she understands that the
investigation is complete. Further, because there was no criminal conduct identified by DCIS,
there will be no enforcement proceedings. 5 U.S.C. § 552(c)(1) cannot be a reason to deny the
applicability of the FOIA to the records Ms. Glines requests.

b.     5 U.S.C. § 552(c)(2) and (3) are not at issue for the requested records.

       5 U.S.C. § 552(c)(2) depends on specific conditions concerning the request:

       Whenever informant records maintained by a criminal law enforcement agency
       under an informant’s name or personal identifier are requested by a third party
       according to the informant’s name or personal identifier, the agency may treat the
       records as not subject to the requirements of this section unless the informant’s
       status as an informant has been officially confirmed.
5 U.S.C. § 552(c)(2).

       Ms. Glines did not ask for informant records, nor did she ask for records under an
informant’s name. The only names referenced in her FOIA request were the names of the
primary DCIS agent, Peter Rozman; the successor agent after Agent Rozman retired, Agent
Brian Futagaki; and her own name. See Exh. 1. 5 U.S.C. §552(c)(2) does not apply to exclude
Ms. Glines’ request from the FOIA.
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        5 U.S.C. §522(c)(3) applies to records maintained by the Federal Bureau of Investigation
pertaining to foreign intelligence or counterintelligence, or international terrorism, but only
where the existence of those records is classified in the interests of national defense or foreign
policy. Given Ms. Glines’ interview by the DCIS, and what we know, the records requested
concerning both Ms. Glines and/or BSI do not meet this standard. There is no likelihood that
that any foreign intelligence or counterintelligence issues are addressed in the requested records.
Further, the request is made to DODIG for records generated by DCIS, and there is no
reasonable expectation that the FBI is a custodian for these materials. None of the criteria under
5 U.S.C. §552(c) apply to exclude the records Ms. Glines has requested from the FOIA.

IV.    DODIG improperly shifted their agency burden and failed to conduct an adequate
search.

        DODIG, not Ms. Glines, bears the burden of demonstrating that it has complied with its
obligations under FOIA. 5 U.S.C. § 552(a)(4)(B). Specifically, it bears the burden of
demonstrating that it conducted an adequate search and properly withheld documents under one
of the recognized exemptions. Id.; U.S. Dep't of State v. Ray, 502 U.S. 164, 173 (1991).
However, that burden was not met here because DODIG proactively denied the request without
even searching for the records to verify whether or not the rarely applicable provisions of 552(c)
applied.

       5 U.S.C. §552(a)(6)(A) sets forth the process for Agencies to respond to a FOIA request,
and the requestor’s appeal rights:

       Each agency, upon any request for records made under paragraph (1), (2), or (3)
       of this subsection, shall—
       (i) determine […] whether to comply with such request and shall immediately
       notify the person making such request of—
                (I) such determination and the reasons therefor;
                (II) the right of such person to seek assistance from the FOIA Public
                Liaison of the agency; and
                (III) in the case of an adverse determination—
                         (aa) the right of such person to appeal to the head of the agency,
                         within a period determined by the head of the agency that is not
                         less than 90 days after the date of such adverse determination[.]
       […]
       (ii) make a determination with respect to any appeal […]. If on appeal the denial
       of the request for records is in whole or in part upheld, the agency shall notify the
       person making such request of the provisions for judicial review of that
       determination under paragraph (4) of this subsection. 5 U.S.C. § 552(a)(6)(a).

         Reasons for denial to release particular pieces of information are often listed in what is
known as a Vaughn Index. It appears that DODIG’s FOIA stance—in which it denies via form
letter the requirement to search for records that might potentially be covered by 552(c)—
systematically deprives the requestor of a functional appeal under 552(a)(6)(A)(i)(III). At this
time, there is no determination on the documents at issue, or reason given as required by
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552(a)(6)(A)(i)(I). The only apparent recourse would launch the requestor into a costly court
battle over an improper first-time denial, without the benefit of seeking an administrative appeal
for disagreements over the Agency’s true first look. Ms. Glines hopes that the Government will
see its errors and amicably and properly comply with this FOIA Request in accordance with the
law.

V.     Anticipatory arguments to possible DODIG responses.

        To preserve time and resources, we here respond to denials or redactions we might
anticipate receiving based on FOIA exemption (b)(7), without any information on the particular
denials or redactions DODIG seeks to make.

       Keeping the narrow construction of FOIA exemptions in mind, exemption (b)(7)
includes:
       [r]ecords or information compiled for law enforcement purposes, but only to the
       extent that the production of such law enforcement records or information (A)
       could reasonably be expected to interfere with enforcement proceedings, (B)
       would deprive a person of a right to a fair trial or an impartial adjudication, (C)
       could reasonably be expected to constitute an unwarranted invasion of personal
       privacy, (D) could reasonably be expected to disclose the identity of a confidential
       source, including a State, local, or foreign agency or authority or any private
       institution which furnished information on a confidential basis, and, in the case of
       a record or information compiled by criminal law enforcement authority in the
       course of a criminal investigation or by an agency conducting a lawful national
       security intelligence investigation, information furnished by a confidential source,
       (E) would disclose techniques and procedures for law enforcement investigations
       or prosecutions, or would disclose guidelines for law enforcement investigations
       or prosecutions if such disclosure could reasonably be expected to risk
       circumvention of the law, or (F) could reasonably be expected to endanger the life
       or physical safety of any individual[.]
5 U.S.C. 552(b)(7), (emphasis added.)

       The DOJ FOIA guide makes it abundantly clear that Agencies seeking to withhold
information under exemption (7) must demonstrate for each subpart that the information
requested “could reasonably be expected” to cause the harm that the subsection seeks to prevent-
- except for subparts (B) and (E), which requires that the Agency demonstrate that the disclosure
would indeed cause the harm the subpart seeks to prevent. Id.

        While these records may have originally been compiled for a law enforcement purpose,
the other requirements of exemption (b)(7) are not met. As discussed above, over a year ago
DCIS determined that there was no criminal wrongdoing, and as such there are no enforcement
proceedings to implicate (b)(7)(A), and no trial with which to interfere under (b)(7)(B). Ms.
Glines is requesting information about herself, so there is no reasonable expectation that granting
her information about an investigation into her own conduct could be deemed an invasion into
her privacy, and no one else’s privacy is implicated by the investigation into her conduct under
(b)(7)(C). There is no reasonable expectation of confidential sources under (b)(7)(D). To the
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extent that there may be some unexpected confidential source referenced in the investigation,
that information may be redacted to satisfy the requirement that information withheld under
exemption (b)(7) may be withheld “only to the extent that” its production could be expected to
disclose that source.

        To the extent that the requested information reveals any techniques, procedures, or
guidelines for law enforcement investigations, we expect that this would be a very limited
portion of the documents requested. Further, exemption (7)(E) is one of the subparts requiring a
more stringent standard of proof of harm—that is “would disclose” material otherwise exempted
under (7)(E), and even then, that information could be redacted. Given that the investigation
concerned false allegations that Ms. Glines used her public position for private gain, there is no
reasonable possibility that this report would endanger the life or physical security of any
individual, and as such, there is no reasonable expectation that exemption (7)(F) would be a
factor in any withholding of the report.

VI.    Conclusion.

        For the above reasons, we believe that DODIG should release the requested records. To
the extent that DODIG decides to deny any portion of the request, we request a Vaughn Index
such that we may expedite court consideration of this matter. Given that DODIG did not deny
Ms. Glines’ request to waive fees in its final response, it is our understanding that the
Government agrees to waive fees for processing this FOIA request.


                                             Sincerely,




                                             Robert J. Sander
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                                             Alexandria, VA 22306
                                             (703) 459-0442
                                             rsander@sandergroup.org


cc: Ms. Kristina Glines
Enclosures:
Exhibit 1, FOIA request DODOIG-2024-000119, November 20, 2023
Exhibit 2, FOIA Request Denial and Response, November 30, 2023
